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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           JACKSON DIVISION

OLIVIA Y., et al.,                              )
                                                )
        Plaintiffs,                             )
                                                )
v.                                              )             3:04-CV-251-HSO-FKB
                                                )
TATE REEVES, as Governor of the                 )
State of Mississippi, et al,                    )
                                                )
        Defendants.                             )

                DECLARATION OF MARCIA ROBINSON LOWRY

Marcia Robinson Lowry, an attorney of record in this civil action, makes this

declaration under penalty of perjury and under 28 U.S.C. § 1746.


1.      I am a member of the Bar of New York and admitted to practice in this Court

     pro hac vice. I am lead counsel for the Plaintiff Class in this case along with

     local counsel, Wayne Drinkwater and Michael Bentley, of the firm of Bradley

     Arant Boult Cummings LLP. I am the Executive Director of A Better Childhood

     (“ABC”). I give this Declaration in support of Plaintiffs’ Motion For Award of

     Class Counsel’s Fees and Expenses.

2.      As demonstrated by my resume, submitted as Attachment A to this

     Declaration and incorporated herein, I graduated from New York University

     School of Law in 1969. I have been an attorney litigating child welfare cases

     since 1970. For six years, I was the Director of the Children’s Rights Project of

     the New York Civil Liberties Union, where I instituted and directed a program



                                                                           EXHIBIT
                                                                                1
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     to reform the New York City child welfare system. From 1979 until 1995, I was

     the Project Director of the Children’s Rights Project of the American Civil

     Liberties Union (“ACLU”), where I directed major litigation efforts in

     jurisdictions throughout the United States designed to promote major reform of

     child welfare systems. In 1995, I carried this work over to Children’s Rights,

     which I founded. I was the Executive Director of Children’s Rights until August

     2014, at which time I founded and became Executive Director of ABC

3.       I have been counsel in more than 20 class action lawsuits representing

     hundreds of thousands of children against systems that have failed to provide

     lawful child welfare services including, for example:


        Ashley W. and Betty W. v. Holcomb, a class action against the Indiana child
         welfare system concerning violations of foster children’s rights under federal
         and constitutional law;
        Baby Neal v. Casey, a class action against the Philadelphia child welfare
         system and the Pennsylvania public welfare department for failure to comply
         with constitutional standards and applicable federal statutes;
        Brian A. v. Sundquist, a class action against the Tennessee child welfare
         system concerning violations of foster children’s rights under federal and
         constitutional law;
        Carson P. v. Heineman, a class action against the Nebraska child welfare
         system concerning violations of foster children’s rights under federal and
         constitutional law;
        Charlie H. v. Whitman, a class action against the New Jersey child welfare
         system and the state of New Jersey for failure to comply with constitutional
         standards and applicable federal law;
        D.G. v. Henry, a class action against the Oklahoma child welfare system
         concerning violations of foster children’s rights under federal and
         constitutional law;
        Dwayne B. v. Granholm, a class action against the Michigan child welfare
         system concerning violations of foster children’s rights under federal and
         constitutional law;
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    E.C. v. Blunt, a class action against the Missouri governor and child welfare
     officials challenging the facial validity of an adoption assistance law on
     constitutional statutory grounds;
    Foster Children Bonnie L. v. Bush, a class action against the Florida child
     welfare system and the state of Florida concerning violations of foster
     children’s rights under federal and constitutional law;
    G.L. v. Zumwalt, a class action challenging federal statutory and
     constitutional infirmities within the foster care system in Kansas City, Mo;
    Jeanine B. v. Thompson, a class action against the Milwaukee County child
     welfare system and state of Wisconsin for failure to comply with local laws,
     federal statutes, and federal constitutional protections applying to children at
     risk for placement or in foster care;
    Jonathan R. v. Justice, a class action against the West Virginia child welfare
     system concerning violations of foster children’s rights under federal and
     constitutional law;
    Joseph A. v. New Mexico Dept. of Human Services, a federal statutory and
     constitutional challenge to the foster care system in the state of New Mexico
     brought on a class basis;
    Juan F. v. Rell, a class action against the Connecticut social services system,
     based on failure to comply with constitutional standards and applicable
     federal statutes;
    Kenny A. v. Perdue, a class action against the Governor of Georgia and other
     state officials concerning violations of foster children’s rights in DeKalb and
     Fulton Counties, Georgia, under federal and constitutional law;
    LaShawn v. Barry, a class action against the District of Columbia child
     welfare system for failure to comply with constitutional standards, federal
     statutes, and applicable District of Columbia law;
    Marisol A. v. Giuliani, a class action against the New York City and State,
     regarding all aspects of New York City’s child welfare system, for failure to
     comply with federal constitutional, federal statutory, state constitutional,
     state statutory, and state regulatory standards;
    Olivia Y. v. Barbour, this class action against the Mississippi child welfare
     system concerning violations of foster children’s rights under federal and
     constitutional law;
    Sam M. v. Carcieri, a class action against the Rhode Island child welfare
     system concerning violations of foster children’s rights under federal and
     constitutional law;
    Sheila A. v. Finney, a class action in state court against the Kansas child
     welfare system based on violations of state, federal statutory, and federal
     constitutional law;
    Wilder v. Sugarman, a challenge to New York’s statutory scheme for the
     provision of foster care services on the grounds of racial and religious
     discrimination and violation of the establishment and free exercise clauses of
     the First Amendment; and
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        Wyatt B. v. Brown, a class action against the Oregon child welfare system
         concerning violations of foster children’s rights under federal and
         constitutional law.

4.       In addition to my litigation activities in child welfare cases, I have written

     and spoken extensively on child welfare reform and child welfare litigation.

     These speaking engagements and publications have included: Fordham Urban

     Law Journal, “Why Settle When You Can Win: Institutional Reform and Marisol

     v. Giuliani,” Vol. XXVI, May 1999; University of Michigan Journal of Law

     Reform, “Why Children Still Need a Lawyer,” Fall 2007; Speaker/Panelist, St.

     John’s Journal of Legal Commentary Symposium on Legal Reform and

     Children’s Human Rights (April 9, 1999); Speaker, American Bar Association’s

     9th National Conference on Children and Law (April 9, 1999); Keynote Speaker,

     New Jersey Child Placement Review Annual Conference (April 10, 2007); and

     Panelist, University of Michigan Law School, “Looking Ahead to the Next 30

     Years of Child Advocacy” (March 30, 2007). Other publications and professional

     activities are listed on my resume.

5.       I have also presented testimony before both houses of Congress on child

     welfare and foster care issues, and in October 1998 I was a recipient of a

     Foundation for Improvement of Justice Award.

6.       On May 6, 2016, this Court set Plaintiffs’ fee rates. See Dkt. No. 691 at 11.

     For the past five years, Defendants have paid Plaintiffs according to that rate.

     Beginning January 1, 2019, Plaintiffs requested a pay increase for Mr. Bentley.

     I’ve submitted that correspondence as Attachment B to this Declaration. Other
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      than that, Plaintiffs never requested that their rate amounts be increased until

      now.

7.       On August 5, 2021, Plaintiffs emailed Defendants formally requesting a rate

      increase. Defendants refused. I’ve submitted that correspondence as

      Attachment C to this Declaration. On September 22, 2021, Plaintiffs formally

      submitted an invoice to Defendants for attorneys’ fees and expenses for

      monitoring and enforcement work performed by Plaintiffs’ counsel during the

      period of January 1, 2021 through June 30, 2021. I’ve submitted that

      correspondence as Attachment D to this Declaration. This invoice contained

      moderate hourly fee increases.

8.       Defendants refused to raise Plaintiffs’ hourly rate. The parties, did,

      however, eventually agree on total number of billable hours for the period. I’ve

      submitted that correspondence as Attachment E to this Declaration.

9.           Pursuant to Federal Rule of Civil Procedure 23(h), Plaintiffs request that

      the Court approve Plaintiffs’ motion for fees and expenses incurred during this

      post-judgment monitoring period. Plaintiffs seek a total of $99,466.92. This

      includes reimbursement of 345.5 hours expended on this litigation by Plaintiffs’

      attorneys (343.4 hours), by paralegals (2.1 hours), and $4,719.57 of expenses.

10.      The resumes of Wayne Drinkwater, Michael Bentley, Anastasia Benedetto,

      and Jonathan Borle, the other attorneys for whom plaintiffs seek fees for their
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      work on this matter during this billing period, are submitted as attachments to

      their declarations.1

11.       Attachment F to this Declaration is the total billable hours performed by the

      lawyers and paralegals on this case from January 1, 2021 through June 30,

      2021. It also includes a summary of case expenses advanced in this case during

      this same period. Each compilation has been personally reviewed by myself or

      by my staff attorneys, Anastasia Benedetto or Jonathan Borle, and I have

      written off charges that I deemed, in the exercise of my billing judgment,

      excessive or non-compensable. I believe these summaries to be an accurate and

      reliable account of compensable expenses, the work Plaintiffs’ counsel has

      performed, and the compensable work of support staff.

12.       During the period this motion for fees covers, it was the consistent policy and

      business practice of all counsel and support staff on this case to maintain

      contemporaneous and specific records of all time worked in a particular case,

      and for such records to be entered into an online database. Both ABC attorneys

      and co-counsel who worked on this case kept contemporaneous and specific

      records of all the work they performed. I attest that all the hours submitted in

      Attachment F were reasonable and necessary to furnish adequate representation

      for the Plaintiffs.

13.       Throughout this billing period, I also made diligent efforts to hold expenses,

      which must be paid when incurred, to a minimum. The majority of the expenses



1
    The resume of Wayne Drinkwater is submitted as an attachment to Michael Bentley’s declaration.
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      incurred in connection with this period of litigation were travel expenses. I,

      along with the other attorneys working on this case, made concerted efforts to

      minimize the number and cost of trips to Mississippi, as well as the number of

      attorneys who participated in each trip. The travel to Mississippi during this

      billing period were necessary to effectively litigate this case and enforce the

      applicable court orders. Additional reimbursable costs include meals and

      transportation costs in Mississippi. I attest that all of the expenses submitted in

      Attachment F were reasonable and necessary to furnish adequate representation

      for the Plaintiffs.

14.      For purposes of calculating Plaintiffs’ fee award for hours worked during the

      period of [date range], the following rates were used: Marcia Robinson Lowry

      (ABC)--$475 per hour; Anastasia Benedetto (ABC)--$250 per hour; Jonathan

      Borle (ABC)--$250 per hour; Wayne Drinkwater (Bradley Arant Boult

      Cummings)--$450; Michael Bentley (Bradley Arant Boult Cummings)--$325;

      Paralegal--$120. Travel hours for all attorneys were billed at half of these rates.

15.      The hours spent this billing period were on activities necessitated by

      Plaintiffs’ non-compliance with prior orders. The operative settlement

      agreement in this case is the Second Modified Settlement Agreement (“2nd

      MSA”), filed in December 19, 2016. (Dkt. No. 712). The 2nd MSA provides for a

      phased-in schedule of an entire host of remedial measures, which the State was

      required to implement, concerning among other things, numbers of case workers,
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      their caseloads, visitation requirements and medical care for children in

      placement.

16.      Based on my 50-plus years of experience in the field of child welfare law and

      my involvement in numerous similar institutional reform litigations throughout

      the country, it is my opinion that all of the intensive work done during the past

      reporting period was necessary to ensure that Plaintiff class gets the relief to

      which they are entitled. The hours expended by myself and my co-counsel in

      working to advance the plaintiffs’ causes were necessary to meet our obligations

      to the Plaintiff class during this billing period.

17.      The Parties’ practice until now has been for Plaintiffs to send an invoice

      twice a year, and for Defendants to remit payment once a year, after its

      Legislature has appropriated necessary funds.

18.      Plaintiffs request that Defendants timely pay attorneys’ fees and expenses

      within thirty (30) days from entry of the requested fee order.

19.       I am also attaching, as Attachment G, a portion of Defendant’s quarterly

      report for the MSA, which states that, as of March 2021, there are 3,705 children

      in Mississippi’s foster care system.



I declare under penalty of perjury of the laws of the United States that the foregoing

is true and correct.
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Executed this 8th day of November 2021 in Chappaqua, New York

                              s/ Marcia Robinson Lowry
                              Marcia Robinson Lowry (pro hac vice)
                              Attorney for Plaintiffs
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                                      MARCIA ROBINSON LOWRY

1095 Hardscrabble Rd.
Chappaqua, N.Y. 10514
646-808-7344                                                                     www.ABetterChildhood.org

Founder and executive director
A Better Childhood                                                                          2014 – present
         Director of a non-profit advocacy organization committed to taking innovative and effective
         approaches to reform dysfunctional child welfare systems across the country. Lead counsel in class
         actions in Mississippi, Oklahoma, New Jersey, the District of Columbia, New York City, and
         Minnesota; co-lead counsel in ongoing lawsuit in Texas.

Founder and Executive Director
Children's Rights                                                                                    1995 to 2014
         Director of the leading national, non-profit organization fighting for the rights of children in state
         foster care custody. Children’s Rights protects America’s most vulnerable children using policy,
         public education, and the power of the courts. Directs class action litigation on behalf of thousands
         of children nationwide. Instrumental in promoting and implementing systemic reform of major child
         welfare systems. Recognized as a leading advocate for children in legislative and public forums.
         Assumes all administrative and leadership functions for national organization.

Director, Children's Rights Project                                                                   1979 - 1995
American Civil Liberties Union
          Directed major litigation efforts in jurisdictions throughout the United States designed to promote
          major reform of child welfare systems. Identified and implemented project priorities. Supervised all
          staff. Assumed leadership role in all fund raising and public education activities.

Director, Children's Rights Project                                                                 1973 - 1979
New York Civil Liberties Union
          Instituted and directed program of litigation to reform the New York City child welfare system.
          Coordinated all Project legal, legislative, and public education activities.

Special Assistant to Commissioner                                                            1972 - 1973
Special Services for Children, New York City Human Resources Administration
         Planned and developed programs and worked on special problems for the Commissioner.

Reginald Heber Smith Community Law Fellow and General Staff Attorney                               1969 - 1972
Community Action for Legal Services
         General litigation involving such issues as abortion and Medicaid reimbursements, juvenile justice,
         and civil commitment of children to mental hospitals. Also responsible for coordination of family
         law litigation among legal services offices.

Reporter                                                                                             1963 - 1966
Long Island Press

Education
New York University School of Law, J.D. degree, 1969, cum laude
Northwestern Univ., Evanston, IL, B.S. degree in journalism, 1962
London School of Economics and Political Science, University of London, 1960-61
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                                                      -2-
Admitted to Practice
New York State
United States District Courts for the Southern and Eastern Districts of New York, the Eastern District of
Kentucky and the Eastern District of Michigan
Court of Appeals for the Second, Third, Fifth, Ninth, Tenth and Eleventh Circuits and for the District of
Columbia
Supreme Court of the United States


Cases

Wilder v. Sugarman, decision reported at 385 F. Supp. 1013 (S.D.N.Y. 1974). Superseded by Wilder v.
Bernstein, 499 F.Supp 980 (S.D.N.Y. 1980), 645 F. Supp. 1292 (S.D.N.Y. 1986), 848 F.2d 1338 (2d Cir. 1988),
Nos. 94-7322, 94-7324 (2d Cir. Feb. 23, 1995). Challenge to New York's statutory scheme for the provision of
foster care services on the grounds of racial and religious discrimination and violation of the establishment and
free exercise clauses of the First Amendment. Consent Decree approved, over objections of sectarian agencies,
in lengthy opinion prohibiting religious discrimination and the imposition of religious practices on children,
and approving extensive monitoring of sectarian child welfare agencies receiving public funds. Attempt to
narrow class by excluding children placed with relatives denied by court. Case concluded and principles of
settlement agreement incorporated into Marisol A. v. Giuliani, discussed below.

G.L. v. Sherman. In 1983, Children’s Rights joined Legal Aid of Western Missouri in a class action aimed at
reforming the grossly inadequate child welfare system in Jackson County, Missouri. The federal complaint
charges the Missouri Division of Family Services (DFS) with endangering the lives of children in state
custody by failing to properly investigate and monitor foster homes. A settlement agreement was reached
with Missouri officials in 1983, mandating top-to-bottom reform of the foster care system. After the state
repeatedly failed to implement court-ordered reforms, Children’s Rights and co-counsel successfully filed a
contempt motion against the state and a full trial was held in 1992. A new settlement agreement was reached
in 1994, which mandated such improvements as training for foster parents and mandatory criminal history
and child abuse checks for prospective foster families. Over the next ten years, with court oversight, DFS
successfully implemented all of the reforms required by the consent decree. On February 1, 2006, the court
conditionally dismissed the case, court oversight officially ended, and the state agreed to keep in place until
2009 the policies, practices and staff positions created as a result of the lawsuit.

G.L. v. Zumwalt, consent judgment reported at 564 F. Supp. 1030 (W.D. Mo. 1983). Superseded by G.L. v.
Stangler, consent judgment reported at 873 F. Supp. 252 (W.D. Mo. 1994), and later reported as GL. v.
Sherman. Federal statutory and constitutional challenge to foster care system in Jackson County, Mo. Class
certified, motion to dismiss denied. Consent judgment established widespread reforms in screening, training
and supervision of foster parents, mandates appropriate treatment and permanency planning for foster children,
and provides continuing court jurisdiction for enforcement. Motion for contempt granted December 7, 1992,
revised consent decree negotiated, implementation and monitoring plan agreed to, internal receivership created
by defendants in an effort to achieve compliance. Plaintiffs worked to enforce and monitor compliance with
consent decree, which resulted in substantial improvements to the Kansas City foster care system. On February
2, 2006, the case successfully concluded with the state having complied with the terms of the consent decree.
The state agreed to keep in place until July 2009 our policies, practices and positions created by the consent
decree.

Joseph A. v. New Mexico Dept. of Human Services, 575 F. Supp. 346 (D.N.M. 1983), vacated and remanded,
69 F. 3d 1081 (10th Cir. 1995), and concluded as Joseph A. v. Bolson. Federal statutory and constitutional
challenge to foster care system in the state of New Mexico. Class certified, motions to dismiss and for qualified
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immunity denied. Earlier consent judgment mandated sweeping system-wide reforms involving worker training
and qualifications, caseloads, permanency planning for children, citizen review boards, and monitoring.
Consent decree terminated by district court based on finding of substantial compliance with consent decree
and denial of contempt motion, but this was reversed by 10th Circuit Court of Appeals. Consent decree
reinstated on November 9, 1995, contempt finding recommended by Special Master. Decree renegotiated 1998
to incorporate standards of quality practice, with compliance determined by an expert neutral third party. Case
again dismissed, this time on abstention grounds, and was again reinstated by the 10th Circuit. Case then entered
a new stage, and the parties agreed on a court-ordered Exit Plan, utilizing external consultants to focus on
children whose goal is adoption, to ensure they get adopted on a timely basis. The new Exit Plan required the
external consultants to review cases every 60 days to ensure they are progressing towards adoption. Case
successfully concluded, with compliance having been reached, in February 2005.

Martin A. v. Gross, 546 N.Y.S.2d 75, 153 A.D.2d 812 (1st Dep’t 1989), 677 N.Y.S. 2d 292, 247 A.D. 2d 15 (1st
Dep’t 1998). Originally brought as a single action, then consisting of six separate lawsuits on behalf of six
different families seeking damages for New York City’s failure to provide appropriate protective and preventive
services. Trial of first case resulted in jury verdict finding that City was negligent in failing to provide safe and
adequate foster care for two twins with AIDS. Jury awarded $87,500 in damages. After Court of Appeals
decisions authorizing cases to proceed, cases settled for substantial damages.

Sheila A. v. Finney, No. 89-CV-33 (Kan. Dist. Ct., filed Jan. 8, 1989). Class action in state court against Kansas
child welfare system based on violations of state, federal statutory and federal constitutional law. Case settled
on eve of trial with sweeping consent decree mandatory system-wide reform. Plaintiffs, defendants and a task
force of state and national experts negotiated details of compliance monitoring and implementation, which now
concluded, with the state substantially complying with the settlement agreement.

LaShawn v. Barry, 762 F. Supp. 959 (D.D.C. 1991), aff’d, 990 F.2d 1319 (D.C. Cir. 1993). Class action against
the District of Columbia child welfare system for failure to comply with constitutional standards, federal
statutes, and applicable District of Columbia law. Full trial on the merits, decision finding liability on local
statutory, federal statutory and constitutional grounds on April 18, 1991. Affirmed on narrower grounds by
the Court of Appeals for the D.C. Circuit, April, 1993. System placed in full receivership May 22, 1995, with
broad authority to take all necessary steps to ensure implementation. Further appeals are reported at 69 F.3d
556 (D.C. Cir. 1995), vacated and in banc review granted, 74 F.3d 303 (D.C. Cir.) (in banc), aff’d, 107 F.3d 923
(D.C. Cir, 1996), cert. denied, 117 S. Ct. 2431 (1997). Receivership terminated October 2000. Comprehensive
Implementation Plan developed April 2003, charting course for full compliance with Court's order by
December 31, 2006. Ongoing monitoring activity.

Baby Neal v. Casey, 821 F. Supp. 320 (E.D. Pa. 1993), vacated in part, 43 F.3d 48 (3d Cir. 1994). Class action
against the Philadelphia child welfare system and the Pennsylvania public welfare department for failure to
comply with constitutional standards and applicable federal statutes. Motion to dismiss denied, motion for
class action denied, reversed on appeal by Third Circuit Court of Appeals and class certified. Settled in late
1998, with the city, the state and the court system, with city agreeing to be held to generally accepted practices,
and disputes to be reviewed by social work expert before being submitted to court. Case successfully concluded
in 2000, with defendants having complied with terms of settlement agreements.

Juan F. v. O’Neill, 37 F.3d 874 (2d Cir. 1994), now Juan F. v. Rell. Class action against the Connecticut social
services system, based on failure to comply with constitutional standards and applicable federal statutes. Case
submitted to binding mediation process, resulting in broad-ranging consent decree and monitoring process in
1991. Court order to enforce various provisions of the decision affirmed by the Second Circuit Court of
Appeals in 1994. Subsequently, numerous negotiated resolutions to non-compliance as well as contempt
hearings. Plaintiffs' contempt request in 2003 resulted in an unprecedented voluntary handover of express
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management authority of the system from the state to the federal court monitor. New Exit Plan negotiated
and ordered in 2004 mandating achievement on 22 outcome measures. Management authority returned to the
state in 2005. Plaintiffs’ assertion of noncompliance in January 2006 resulted in the development of an Action
Plan, finalized in March 2007, to improve the state’s performance in treatment planning and meeting children’s
needs. Ongoing implementation and compliance activity.

Jeanine B. v. Thompson, now Jeanine B. V. Walker, 877 F. Supp. 1268 (E.D.N.Y. 1995). Class action against
Milwaukee County and state of Wisconsin for failure to comply with local laws, federal statutes and federal
constitutional protections for children at risk for placement or in foster care. Class certified, motion to dismiss
denied in first decision establishing continued viability of post-Suter federal statutory claims. State of Wisconsin
assumed direct responsibility for Milwaukee's child welfare system on January 1, 1998 and began a plan of
reform. A later decision in the case was the first to explicitly recognize an additional federal statutory right to
timely adoption petitions under the new Adoption and Safe Families Act. A consent decree was entered by the
Court in December 2002, which calls for court enforceable benchmarks and outcome measures to be achieved
over a three-year period. Ongoing implementation and compliance activity.

Marisol A. v. Giuliani, 95-Civ-10533 (S.D.N.Y. 1995), 126 F.3d 372 (2d Cir. 1997). Class action against New
York City and State, regarding all aspects of New York City’s child welfare system, for failure to comply with
federal constitutional, federal statutory, state constitutional, state statutory and state regulatory standards. Filed
on December 13, 1995. Motions to dismiss denied, and class of approximately 100,000 children certified on
June 18, 1996, class certification upheld on appeal. On eve of trial, November, 1998, settlement reached with
city and state defendants 1) requiring vigorous monitoring of city operation by state agency and 2) creating
a panel of experienced national experts to recommend, and assist in necessary reform or, if reforms are not
implemented, to become plaintiffs’ experts in further court proceedings. Settlement affirmed in Joel A. v.
Giuliani, 218 F.3d 132 (2d Cir. 2000). Reforms implemented, court jurisdiction ended over New York City,
but extended against state after a finding of non-compliance based on failure to implement statewide computer
system.

Jeremy M. and Joanne M. v. Giuliani, 00 Civ. 6498 (RJW) (S.D.N.Y. 2000). Federal lawsuit filed in August 2000
on behalf of five-year-old child held in NYC foster system for two years after legal custody had expired, despite
his mother’s desire to take him home. Settled with monetary damages for mother and child and with city child
welfare agency taking action to end large number of illegal placements.

Brian A. v. Sundquist, now Brian A. v. Haslam, 149 F. Supp.2d 941 (M.D. Tenn. 2000). Federal civil rights
lawsuit filed in May 2000. After the plaintiff children had won a sweeping victory on the legal issues in the
case, a federal judge ordered the parties to attempt negotiations to resolve the lawsuit without a trial. After
over five months of intense negotiations, an agreement was reached, which imposes unprecedented changes
throughout Tennessee’s foster care system. The settlement was approved by the federal court in 2001. In
November 2003, following the release of a monitoring report identifying significant and widespread non-
compliance with the settlement agreement, plaintiffs filed a motion seeking to hold Governor Phil Bredesen
and the commissioner of Tennessee's child welfare agency in contempt of court. Resolution of the contempt
motion resulted in the replacement of the commissioner, with the state admitting non-compliance and the
state's development of a court-enforceable implementation plan with the aid and approval of a panel of national
experts. Ongoing compliance and monitoring activities.

Kenny A. v. Perdue, 1:02-cv-1686-MHS, 218 F.R.D. 277 (N.D. Ga. 2003). Class action against Governor of
Georgia and other state officials on behalf of all of the approximately 3,000 foster children in Fulton and
DeKalb Counties, Georgia (metropolitan Atlanta). Complaint originally filed in state court in June 2002. Case
was immediately removed to federal court. Claims asserted under U.S. Constitution, federal statutes and state
law. Preliminary injunction sought to close two emergency shelters in Fulton and DeKalb Counties, hearing
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conducted in November 2002. Preliminary injunction was denied upon Defendants' promise to close shelters,
court found "few concrete steps were taken to close the shelters before this lawsuit was filed." 1:02-cv-1686-
MHS, Docket No. 126 (N.D. Ga. Dec. 12, 2002.) Amended complaint filed in January 2003 seeking to add
claim for inadequate foster care maintenance payments under federal statute. Both shelters closed by March of
2003. Class certification granted and motion to dismiss denied in August 2003. All claims upheld except for
claims concerning shelters, which were dismissed as moot. Case settled. Ongoing monitoring and compliance
activity underway.

Olivia Y. v. Barbour, Civ. Act. No. 3:04CV251LN (S.D. Miss. Filed Mar. 3, 2004). Federal class action suit
charging that the Mississippi Division of Family and Children’s Services (DFCS) placed the three thousand
children under its care in danger and at risk of harm, and has left many thousands more to fend for themselves
in abusive and neglectful homes. The case was filed on behalf of 12 named plaintiffs - children who have
suffered physical and psychological harm while in DFCS custody, or who have been simply abandoned by
DFCS despite multiple reports to the agency. Defendants’ motion to dismiss and motion for summary
judgment denied. The state conceded liability in a preliminary settlement agreement approved by the court in
June 2007. A final, comprehensive settlement agreement mandating top to bottom reform of the child welfare
system was reached by the parties in October 2007 and signed by the judge on January 4, 2008. Ongoing
compliance and monitoring activities.

Charlie H. v. McGreevey, 83 F. Supp.2d 476 (D.N.J. 2000), now Charlie and Nadine H. v. Christie. Federal
class action lawsuit brought against the state of New Jersey charging that the state's child welfare system was
poorly managed, overburdened and harming the health and safety of children who depended upon it. Filed in
December 1999, the class was certified in March 2002. In July 2002, over strenuous objections from the
defendants, the court ordered that plaintiffs' experts be granted access to over 500 foster children's case files to
collect information on harm children were experiencing while in defendants' custody. In a later decision, the
Court ruled that those expert reports could be released to local and national media, again over defendants'
objections. In February 2003, the parties entered mediation, and the parties agreed to a wide-ranging settlement
in June 2004. The settlement agreement required the state of New Jersey to undertake a full-scale reform of its
foster care system, under the guidance of a panel of independent experts. Under the agreement, defendants
were obligated to implement a reform plan they created with the approval of the expert panel and that requires
them to immediately expend an additional 23.8 million dollars to fund new workers, equipment and the
recruitment of more foster homes and expend an additional 300 million dollars in the next three years, to
undertake emergency measures identified in the agreement as necessary to protect foster children and improve
specific and measurable outcomes for children. State's progress stalled and in December 2005 plaintiffs filed a
motion for contempt of the court-ordered settlement. In July 2006, plaintiffs settled with newly elected
administration officials who created a separate children's agency and agreed to far-reaching steps to get reform
on track. Ongoing monitoring and compliance activity underway.

E.C. v. Sherman. Children’s Rights filed this class action in August of 2005, together with a broad coalition
of local advocates, when a new Missouri law threatened to cut off critical adoption subsidies for special needs
foster children. Children’s Rights secured initial temporary orders preventing the law from taking effect until
the trial. Shortly thereafter, Children’s Rights won class certification so that the case could proceed on behalf
of the thousands of children who would be hurt by the new law. Following a federal trial in April of 2006, the
plaintiff children won on all legal claims and the court permanently banned the adoption subsidy provisions
of Senate Bill 539 from ever taking effect. The defendant — Director of the Missouri Department of Social
Services K. Gary Sherman — immediately appealed the ruling, but the appeal was later withdrawn and the
permanent ban on Senate Bill 539 remains in place.

Dwayne B. v. Granholm, On August 8, 2006 Children’s Rights commenced a class action suit seeking to reform
the ailing foster care system in the state of Michigan. The federal complaint alleges that the state of Michigan
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violates the constitutional, federal statutory and federal common law rights of children in foster care by failing
to provide them with permanent homes on a timely basis, failing to furnish adequate medical, dental and mental
health services, failing to provide safe and stable temporary foster homes, and failing to prepare children who
will “age out” of the foster care system at the age of majority to live independently as adults. The complaint
further avers that the child welfare system in the state of Michigan is badly understaffed, under-funded and
inadequately managed. The state of Michigan operates the nation’s 7th largest foster care system with
approximately 19,000 abused and neglected children residing in state legal custody. In July 2008, the parties
reached a comprehensive settlement agreement, which is set for review and approval by the judge on October
7, 2008.

Sam and Tony M. v Carcieri, now Cassie M. v. Chafee, 608 F.3d 77 (1st Cir. 2010). On June 28, 2007, Children’s
Rights, together with the Rhode Island Child Advocate and the law firm, Weil, Gotshal & Manges LLM, filed
a class action lawsuit to reform the Rhode Island child welfare system on behalf of the 3,000 children in state
foster care. The federal complaint alleges that the state of Rhode Island violates the constitutional, federal
statutory, and federal common law rights of children in foster care and causes harm to these children by failing
to protect them from abuse and neglect while in foster care, placing children in orphanage-like institutions
instead of homes, and returning children to their homes when it is unsafe to do so.

D. G. v. Henry, now D.G. v. Yarbrough. On February 13, 2008, Children’s Rights, together with the Tulsa law
firm Seymour & Graham, international firm Kaye Scholer and other local co-counsel, filed a class action lawsuit
to reform the Oklahoma child welfare system on behalf of the more than 10,000 children in state custody. The
federal complaint alleges that the state of Oklahoma violates the constitutional rights of the children in its care
and causes those children harm by routinely placing them in unsafe, unsupervised, and unstable living situations,
where they are frequently subjected to further maltreatment.

S.W. v. City of New York, et al. This lawsuit seeks damages on behalf of ten special needs children who were
egregiously abused by their mother, who adopted them between 1988 and 1996 from New York City's child
welfare system. Judith Leekin was able to skirt restrictions on the number of foster children she could care for
by assuming a number of different aliases, any one of which would have been found fraudulent had child
welfare officials properly undertaken the background checks necessary to ensure foster children are placed in
safe homes. Once Ms. Leekin fraudulently adopted the children, she moved with them to Florida, where she
held them captive while she lived lavishly on the adoption subsidy checks she collected from New York City.
On July 4, 2007, one of the daughters was found wandering in a St. Petersburg supermarket, leading Florida
police to investigate Leekin's house. There they discovered that for over a decade the children had been
repeatedly beaten, starved, imprisoned in handcuffs, and denied medical care as well as any access to the outside
world. In February 2010 we joined the suit already initiated by our co-counsel in Florida, Colodny, Fass,
Talenfeld, Karlinsky & Abate, P.A., against the City of New York, the New York Administration of Children's
Services and several independent child welfare agencies that contracted with New York to provide services to
the plaintiff children. The suit charges that during the late 1980's and early 1990's, New York City's child
welfare system was so grossly mismanaged that it operated with reckless disregard of the children's safety and
failed to perform basic monitoring tasks that would have readily uncovered the Leekin fraud.

Connor B. v. Patrick. Citing one of the nation's highest rates of abuse of children in foster care and other
persistent and severe problems throughout the Massachusetts child welfare system, Children's Rights and
Boston law firm Nutter McClennen & Fish LLP—with the support of advocates and families throughout the
state—filed a class action in federal court on April 15, 2010, seeking broad reform on behalf of 8,500 abused
and neglected children statewide. The suit charges the state's Department of Children and Families with
violating the constitutional rights of children by routinely placing them in dangerous and unstable situations
once removed from their parents' care and failing to take necessary actions to meet the legal and moral
obligation of the state-run child welfare system to ensure the safety and well-being of children in its custody.
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M.D. v. Perry, 152 F. Supp. 3d 684 (S.D. Tex. 2015), affirmed in part by M.D. v. Abbott, 2018 U.S. App.
LEXIS 29410 (5th Cir. 2018). Citing longstanding and pervasive issues that have caused thousands of children
in Texas foster care to spend their childhoods in poorly-supervised institutions while repeatedly moving from
one far-flung place to another, Children’s Rights joined the prominent Texas law firms Haynes and Boone,
Yetter Coleman, and Canales & Simonson in filing a class action in federal court seeking widespread reform
on behalf of approximately 12,000 abused and neglected children in long-term foster care statewide. The suit
charges Texas’s Department of Family and Protective Services (DFPS) with violating the constitutional rights
of children who generally have been in foster care for at least a year by routinely failing either to return them
safely to their families or to find them safe, appropriate, and permanent new families — and, therefore, failing
to meet its legal obligation to ensure the safety, permanency, and well-being of all children in its custody.

John Doe v. SCDSS. Unacceptably lax policies, combined with officials turning a blind eye to child-on-child
assaults at an institution licensed and supervised by the South Carolina Department of Social Services
(SCDSS), paved the way for an 11-year-old Abbeville County boy to be attacked and sexually assaulted at the
facility in March of 2011. An amended complaint was filed in the Abbeville County Court on May 30, 2013,
against the SCDSS. The filing names South Carolina Governor Nikki Haley as a defendant, along with
SCDSS Director Lillian Koller, as well as other SCDSS officials and staff at the Boys Home of the South
(BHOTS), where the incident occurred. The lawsuit has been brought by two South Carolina law firms and
national advocacy organization Children’s Rights. The initial complaint in this case was filed on April 1, 2013,
in state court in Abbeville County, SC. The newly filed amended complaint adds significant detail and alleges
federal civil rights violations on the part of Governor Haley, DSS officials and staff at BHOTS.

Elisa W., et al. v. The City of New York, et al. 2018 U.S. Dist. LEXIS 33857 (S.D.N.Y. February 28, 2018)
(Pitman, J.). Citing the fact that children in New York City spend longer in foster care and are more
frequently maltreated in care than almost any other children else in the country, A Better Childhood and
Cravath, Swaine, and Moore brought this lawsuit on July 8, 2015. The suit was brought on behalf of 10 foster
children as well as the Public Advocate of New York. The suit alleged that the State fails to exercise sufficient
oversight over New York City’s child welfare system and, in turn, that the City fails to monitor the private
agencies through with which it contracts for foster care services, causing children in its care irreparable harm.
The case is currently in discovery. Plaintiffs have prevailed on several important issues, including winning a
challenge to the ability of the adult “next friends” to litigate on behalf of the children that they represent.

T.F., et al. v. Hennepin County, et al., 2018 U.S. Dist. LEXIS 165952, 2018 WL 4654716 (D. Minn.
September 27, 2018). On May 31, 2017, A Better Childhood and the largest law firm in Minnesota, Faegre
Baker Daniels, filed suit against Hennepin County and the state of Minnesota, alleging that both their child
protection and child welfare systems were underfunded and negligent, and routinely violated children’s
constitutional, federal statutory, and state law rights. Among other reforms, the suit seeks improved
maltreatment investigations, increased recruitment of qualified foster care homes, and increased and timely
permanent placements for children. Plaintiffs have survived two attempts by Defendants to dismiss the case,
and are currently in discovery.


PROFESSIONAL ACTIVITIES
  • Gloria and Stanley Plesent Lecture on Family Law, “The State as a Neglectful Parent,” March, 2015,
     Cardozo Law School
  • Speaker, Yale Law School, American Constitution Society Plaintiff’s Bar Speaker Series (December 5,
     2013)
  • Panelist, University of Pennsylvania, “One Child, Many Hands: A multidisciplinary Conference on
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     Child Welfare,” (June 13, 2013)
 •   Panelist, Center for the Study of Social Policy Advisory Group of Improving Child Welfare
     Outcomes through Class Action Litigation, Boston, MA (January 8, 2013)
 •   Keynote Speaker, New Jersey Child Placement Review Annual Conference (April 10, 2007)
 •   Panelist, University of Michigan Law School, “Looking Ahead to the Next 30 Years of Child
     Advocacy” (March 30, 2007)
 •   Panelist, University of Pennsylvania, “One Child, Many Hands: A Multidisciplinary Conference on
     Child Welfare” (June 3, 2005)
 •   Keynote Speaker, Lawyers’ Association for Women, Nashville, TN (November 16, 2004)
 •   Speaker, Shoulder to Shoulder Sixth Annual Conference, Portland, OR (November 4, 2004)
 •   Speaker, Juvenile Law Section of the Oregon State Bar, “Race, Class & Culture in Juvenile Court,”
     Portland, OR (April 22, 2004)
 •   Speaker/Panelist, Cardozo Public Law, Policy, and Ethics Journal Symposium, “Advocating for
     Change: The Status and Future of America’s Child Welfare System 30 Years After CAPTA” (April
     19, 2004)
 •   Recipient, New York University School of Law Public Service Award, April 17, 2004
 •   Speaker, Amherst College, “The Constitution and the ‘Other America’ in the Twenty-First Century”
     (April 2, 2004)
 •   Speaker, Brooklyn College, “Children and the Law in New York Policy Symposium” (March 11,
     2004)
 •   Speaker/Panelist, Yale Law School 10th Annual Rebellious Lawyering Conference, “Reforming the
     Foster Care System” (February 21, 2004)
 •   Speaker, The New Mexico Council on Crime and Delinquency 41st Annual Luncheon, January 23,
     2004
 •   Testimony before the Subcommittee of Human Resources of the Committee on Ways and Means on
     examining the recent failure to protect child safety, November 6, 2003
 •   Recipient, Raymond A. Brown, Esq. Social Justice Award from Babyland Family Services, Inc.,
     October 23, 2003
 •   Panelist, Fordham University School of Law, “Litigation and Social Change: Reflections on the Lost
     Children of Wilder” (February, 11, 2002)
 •   Speaker, National Association of Women Judges 23rd Annual Conference (October 7, 2001)
 •   Speaker, 24th National Children’s Law Conference of the National Association of Counsel for
     Children, “Advocacy for Children and Families: Moving from Sympathy to Empathy,” Coronado,
     CA (October 1, 2001)
 •   Speaker/Panelist, St. John’s Journal of Legal Commentary Symposium on Legal Reform & Children’s
     Human Rights, 4/9/99
 •   Recipient, Brookwood Commitment to Children Award from Brookwood Child Care Agency, 1999
 •   Speaker, American Bar Association's 9th National Conference on Children & Law, April 9, 1999
 •   Recipient, Foundation For Improvement of Justice Award, October, 1998
 •   Speaker, Loyola University Chicago “Forum on the Child” (Chicago, IL October 13-14, 1997)
 •   Speaker, Casey Journalism Center, “Rethinking the Blame Game: New Approaches to Covering
     Child Abuse and Protection” (Baltimore, MD, June 12, 1997)
 •   Speaker, Child Welfare Legal Services Seminar, Florida State Department: Keynote address and
     leader of liability workshop for State Department attorneys who represent children. (Orlando,
     Florida, June 13, 1995)
 •   Speaker, National Association of Counsel for Children's Law Conference: Address on disposition of
     class action litigation cases. (Boston, September 16, 1995)
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 •   Speaker, National Council for Crime and Delinquency: Roundtable discussion for media on crisis in
     child abuse and neglect. (New York City, October 17, 1995)
 •   Speaker, Casey Journalism Center, "Child Welfare and the Media". (Baltimore, May, 1995)
 •   Guest Expert, "Troubled Kids", MacNeil/Lehrer Newshour, February 20, 1995
 •   Testimony, Subcommittee on Human Resources, House Ways and Means Committee and the Early
     Childhood, Youth and Families Subcommittee, House Economic and Educational Opportunities
     Committee Concerning Child Care and Child Welfare (February 3, 1995)
 •   Speaker, "Children and the Justice Systems," Johns Hopkins University (December 1, 1994)
 •   Keynote Speaker, Child Welfare League of America, "Building a Case With Florida's Families",
     6/13/94
 •   Speaker, The Woman Advocate '94, Prentice Hall Law & Business (March 1994)
 •   Speaker, "In Whose Best Interests?: Bias in the Family Court System," New York University School
     of Law Root-Tilden-Snow public policy colloquium (March 8, 1994)
 •   Panelist, Child Welfare League of America, "Consent Decrees, Court Monitors and Child Welfare
     Reform in the 1990s" (September 1993)
 •   Speaker, National Symposium on Child Victimization (May 19, 1992)
 •   Speaker, American Bar Association's 6th National Conference on Children & Law (April 30, 1992)
 •   Speaker, "Empowering Families," National Association for Family-Based Services (12/4/91)
 •   Speaker, "Child Welfare Litigation at the State and Local Level: The Advocate's View" (July 23, 1991)
 •   Speaker/panelist, "Advocating for Children: Rights and Discrimination, Protection and
     Paternalism," McGill-Loyola 2nd Annual Comparative Health Law and Policy Conference, (June
     1991)
 •   Testimony, Senate Committee on Ways & Means, Subcommittee on Human Resources, "State of
     Nation's Child Welfare System" (May 1991)
 •   Speaker, ABA Invitational Symposium on Civil and Criminal Liability in Child Welfare Work (May
     1990)
 •   Faculty Member, National Court Appointed Special Advocate Association Ninth Annual National
     Conference, Children: The Time is Now (April 1990)
 •   Panelist, Practicing Law Institute seminar, Child Abuse, Neglect, and the Foster Care System (March
     1990)
 •   Speaker, "Developments in Foster Care Law," University of Tennessee and Tennessee Bar
     Association seminar, Representing Children (December 1989)
 •   Speaker, New York University School of Law Root-Tilden seminar on children and families
     (November 1989)
 •   Speaker, AFSCME Child Welfare Workers Conference General Session, "Working for the Rights of
     Children,” (October 1989)
 •   Panelist, "State Perspectives on Legal Activities in Child Welfare," National Association of Public
     Welfare Administrators, Children's Services Administrators Forum, Direction Setting for Child
     Welfare: The Impact of Litigation on the Delivery System (June 1989)
 •   Panelist, Practicing Law Institute seminar, The Foster Child: From Abandonment to Adoption
     (March 1989)
 •   Speaker, Third National Conference of the Association of Child Advocates (September 1987)
 •   Speaker, National Conference of State Legislators on the implementation of litigation in child welfare
     (1986)
 •   Testimony before the United States Senate Labor and Human Resources Committee on barriers to
     adoption (1985)
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                                                     - 10 -
    •   Speech on litigation strategy at the ABA National Resource Center symposium on children's issues
        (1985)

PUBLICATIONS
  • “A Powerful Route to Reform or When to Pull the Trigger: The Decision to Litigate,” For the
     Welfare of Children; Lessons Learned from Class Action Litigation, Center for the Study of Social
     Policy, January 2012
  • “Why Children Still Need a Lawyer,” University of Michigan Journal of Law Reform, Fall 2007.
  • “Putting Teeth into ASFA: The Need for Statutory Minimum Standards,” Children and Youth
     Services Review, 26 (2004), pp. 1021-1031.
  • “Why Settle When You Can Win: Institutional Reform and Marisol v. Giuliani,” The Fordham
     Urban Law Journal 1335, 1999
  • “We're suing the city for kids' sake,” Daily News Op-Ed page, April 1, 1998
  • New York Law Journal, The Lawyer’s Bookshelf (reviewing Edward Humes, No Matter How Loud I
     Shout: A Year in the Life of Juvenile Court), May 3, 1996
  • “Children Deserve a Family of their Own” in Opinion The Flint Journal, December 19, 1994
  • “Fix Foster Care to Fix Crime,” Asbury Park Sunday Press, May 29, 1994
  • “The Failure of Foster Care” Detroit Free Press, April 7, 1994
  • “Foster Kids are put on the Shelf” in Fort Worth Star Telegram, September 5, 1993
  • “Class Actions: The Risks Due to Systemic Problems” in Liability in Child Welfare and Protection
     Work: Risk Management Strategies, ABA Center on Children and the Law, 1991
  • “Hugging Them Is Not Enough” in New York Forum, New York Newsday, p. 138, December 19,
     1990
  • “Justice's Rusted Wheels” in Opinion, Manhattan Lawyer, p. 12, December 5, 1988
  • “A Mission Is Not a Home” in New York Forum, New York Newsday, p. 92, June 17, 1988
  • “Kids Floating, Kids Drowning” in New York Forum, New York Newsday, p. 66, April 15, 1987
  • “Derring-Do in the 1980s: Child Welfare Impact Litigation After the Warren Years,” in Family Law
     Quarterly, Summer, 1986; reprinted in Besharov, Protecting Children from Abuse and Neglect,
     Policy and Practice, 1988
  • “Legal Strategies to Facilitate Adoption of Children in Foster Care,” in Foster Children in the Courts,
     Butterworth Legal Publishers, 1983
  • “Individual Rights and the Interstate Placement of Children: From Expediency to Exportation,” in
     Readings in Public Policy, Academy for Contemporary Problems, 1981
  • “Children’s Rights,” in Advocating for Children in the Courts, ABA National Institute, 1979
  • “When the Family Breaks Down: Massive and Misapplied Intervention by the State,” in Vardin and
     Brody, Children’s Rights: Contemporary Perspectives, Teacher's College Press, 1978
  • New York University Law Review, “The Judge v. the Social Worker: Can Arbitrary Decision Making
     Be Tempered by the Courts,” Vol. 52, November, 1977
  • The New York Times Op-Ed page, Legal Celling-In of Foster Children, 5/21/76
  • Journal of Psychiatry and Law, “Symposium: Children’s Rights -- Psychiatry and the Law,” Winter,
     1975

In 2000, Nina Bernstein highlighted Ms. Lowry’s work in New York City with the publication of The Lost
Children of Wilder: An Epic Struggle to Change Foster Care. This book explores the background and aftermath of
the landmark 1973 Wilder lawsuit Ms. Lowry filed against the City of New York’s foster care system.
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    Via electronic mail
    Kenya Key Rachal, Of Counsel
    BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, PC
    ONE EASTOVER CENTER
    100 Vision Drive, Suite 400
    Jackson, Mississippi 39211

    August 30, 2019

    Re:     Olivia Y. v. Bryant
            Attorneys’ Fees and Expenses for A Better Childhood and Bradley Arant
            for January 1, 2019 through June 30, 2019 – ABC’s Response to Baker Letter
            Dated August 20, 2019.

    Dear Kenya,

    We are in receipt of your letter dated August 20, 2019 and have addressed your concerns
    below. Our response is based on a thorough review of the Court’s findings in its Order
    dated July 21, 2017 [the “July Order”, Dkt. No. 724]. ABC has made reductions to both
    fees and expenses as discussed below. Plaintiffs’ revised Fees and Expenses Application is
    attached hereto. For settlement purposes only, and to avoid incurring additional time and
    expenses, Plaintiffs will accept a 7% reduction of attorneys’ fees only.

    The proposed new total of $103,935.42 is calculated below. This is Plaintiffs’ final offer for
    this billing period.

    ABC Time (revised & reduced by 7%)                                $      93,901.50
    Bradley Time (reduced by 7%)                                      $       3,169.44
    ABC Expenses (revised)                                            $       6,864.48
    Proposed New Total:                                               $     103,935.42

    Travel Time Entries

    ABC has billed for the actual time our attorneys spent traveling to and from Mississippi for
    this case. As you know, travel times can vary significantly as a result of numerous factors
    —traffic, flight delays, etc. Our travel bills should not be reduced based on how long
    Defendants think travel should take. Rather, Defendants have appropriately been billed for
    how long travel actually took.

    Further, Defendants’ objection to travel billed between Mississippi and other states is
    unfounded. While ABC does maintain an office in New York City, the very nature of our
    work requires our attorneys to spend a significant amount of time traveling around the
    country.

    ABC Expenses

    Defendants object to airport transportation expenses for Dawn Post and Marcia Lowry on



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            Floor 16
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    the occasions when they traveled from New York to another state and then to Mississippi.
    The expenses for transportation to the airport would have been incurred regardless of
    whether ABC attorneys were traveling straight to Mississippi, or first stopping in another
    state. However, Plaintiffs believe it is equitable to split this cost between the states and have
    therefore reduced the expenses in question by 50%, totaling $377.18, as reflected in the
    revised invoice.

    Defendants’ second objection to airport transportation is unfounded. Defendants object to
    the cost of the car service to the airport. Ms. Lowry travels approximately thirty-seven miles
    to the airport. She has been taking the same car service for decades, and the prices are on
    par with other transportation providers for the same route. Further, Defendants have not
    objected to Ms. Lowry’s airport transportation in the past. As previously mentioned,
    Plaintiffs bill for the actual cost of their travel. Further, the $50 per trip that Defendants
    have suggested as more appropriate is unreasonable.

    We have revised the expense entries for Marcia Lowry on January 8, 2019 and January 11,
    2019 as follows.
       • Revised Entry: 01.08.2019 – for ML, “Car (Home-LGA).”
                o Previous Entry: 01.08.2019 – for ML, “Car (LGA-Home).”
       • Revised Entry: 01.11.2019 – for ML, “Car (LGA-Home).”
                o Previous Entry: 01.11.2019 – for ML “Car (Home-LGA).”

    Fees

    In accordance with the July Order, we have removed the following entries for time spent
    on recording time and reviewing billing entries.
        • 01.03.2019 – for ML, “Letter – Draft/Edit/Revise: Send letter to K.Rachal re fees.”
        • 01.14.2019 – for ML, “Other: review fees hours.”
        • 05.15.2019 – for ML, “Telephone call. w/ A.Benedetto re fees.”

    However, per the Court’s July Order, Plaintiffs are “entitled to attorney’s fees for the effort
    entailed in litigating a fee claim and securing compensation.” [Dkt. No. 724, 5]. Therefore,
    time spent on fee negotiations and time spent researching, drafting and preparing the
    corresponding court filings is billable.

    Press Releases

    Plaintiffs have removed the following three entries relating to press releases from the
    revised bill, totaling $530.75.
        • 06.06.2019 – for AB, “Letter- Draft/Edit/Revise: Reviewed and revised press
             release.”
        • 06.11.2019 – for AB, “Letter- Draft/Edit/Revise: Reviewed and edited final press
             release.”
        • 06.18.2019 – for ML, “Other: edit press release.”

    Billing Attorneys/Rates



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    The rates billed for Dawn Post ($350) and Allison Mahoney ($275) are fair and based on
    attorney rates similar to their years of experience. Further, Defendants provide neither a
    reason for their objection to the rates charged for Ms. Post and Ms. Mahoney, nor
    justification for the rates they propose.

    Michael Bentley’s rate of $217.50/hour was set by the Court in 2017. However, Mr. Bentley
    is a partner at Bradley Arant and his rate should be reevaluated and increased to bring it in
    line with other partners.

    We have adjusted the rate charged for paralegal work to $110.00/hour. Accordingly, the
    new total billed for Lillian Barany is $11,408.40.


    We reiterate that payment of Plaintiffs’ attorneys’ fees and expenses is not contingent upon
    a legislative appropriation. Please let us know your position by close of business on
    Monday, September 9, 2019. As always, we are available to discuss these matters further
    should you wish to do so.

    Sincerely,
    /s/
    Marcia Robinson Lowry
    Executive Director
    A Better Childhood, Inc.
    cc: W. Wayne Drinkwater




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                                                         Friday, November 5, 2021 at 14:21:06 Eastern Daylight Time


Subject:    RE: A&orney Fees
Date:       Thursday, August 19, 2021 at 6:18:41 PM Eastern Daylight Time
From:       Pentecost, Clint
To:         Jonathan Borle
CC:         Marcia Lowry, Bentley, Michael, Kayla Abrams
AGachments: image006.jpg, image008.png, image010.png, image012.png, image014.png

Jon,
Thanks for your paPence with me geQng back to you. ARer conferring with the AG about the requested rate
increase, we do not believe that the State has the authority to change the rates by agreement.

I hope all is well in New York – look forward to seeing you again soon.

Clint Pentecost
Of Counsel
Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
Direct: 601.351.2452
E-mail: cpentecost@bakerdonelson.com


         From: Jonathan Borle <jborle@abe&erchildhood.org>
         Sent: Thursday, August 5, 2021 1:35 PM
         To: Pentecost, Clint <CPentecost@bakerdonelson.com>
         Cc: Marcia Lowry <mlowry@abe&erchildhood.org>; Bentley, Michael <mbentley@bradley.com>;
         Kayla Abrams <kabrams@abe&erchildhood.org>
         Subject: Re: A&orney Fees

         Clint,

         I am wriPng to ask whether your client would agree to raise our hourly fee. As you know, Judge Lee
         set the current rate back in May 2016. Since that Pme, inﬂaPon has substanPally weakened the
         purchasing power of the dollar. And in the past half decade, our a&orneys have become even more
         skilled and experienced. In view of this, I hope you’ll agree that the following rates reﬂect a
         reasonable fee increase:

               1.   Marcia Lowry--$475
               2.   Wayne Drinkwater--$450
               3.   Michael Bentley--$325
               4.   Jonathan Borle (2016 law grad)--$250
               5.   Anastasia Benede&o (2017 law grad)--$250
               6.   Paralegal--$120

         I am happy to discuss this over the phone should you have any thoughts or comments. Thank you in
         advance.

         Jon




         Jonathan Borle
         Staﬀ AGorney

                                                                                                             Page 1 of 2
     Case 3:04-cv-00251-HSO-ASH                 Document 924-1            Filed 12/01/21        Page 24 of 53


        A Be&er Childhood
        jborle@abe&erchildhood.org
        (347) 541-0349




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                                                                                                                  Page 2 of 2
     Case 3:04-cv-00251-HSO-ASH                       Document 924-1              Filed 12/01/21   Page 25 of 53
                                                              Friday, November 5, 2021 at 14:17:55 Eastern Daylight Time


Subject:    RE: Olivia Y - A-orneys' Fees for Jan 1. 2021-June 30, 2021
Date:       Thursday, October 7, 2021 at 12:02:08 PM Eastern Daylight Time
From:       Pentecost, Clint
To:         Anastasia Benede-o
CC:         Marcia Lowry, Jonathan Borle
AGachments: image002.jpg, image003.png, image004.png, image005.png, image015.png, Le-er to Marcia
            Lowry and Anastasia Benede-o in response to 9.22.21 Request for A-orneys Fees (Inv 51) -
            10.7.21.pdf

Please see the a-ached. Thanks.

Clint Pentecost
Of Counsel
Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
Direct: 601.351.2452
E-mail: cpentecost@bakerdonelson.com


         From: Anastasia Benede-o <abenede-o@abe-erchildhood.org>
         Sent: Wednesday, September 22, 2021 12:50 PM
         To: Pentecost, Clint <CPentecost@bakerdonelson.com>
         Cc: Marcia Lowry <mlowry@abe-erchildhood.org>; Jonathan Borle <jborle@abe-erchildhood.org>
         Subject: Olivia Y - A-orneys' Fees for Jan 1. 2021-June 30, 2021

         Clint,

         Please see attached fee application for the period of January 1, 2021 – June 30, 2021.

         Best,
         Anastasia Benedetto
         Staff Attorney
         A Better Childhood
         abenedetto@abetterchildhood.org
         646-477-1781




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                                                                                                      P.O. BOX 14167
                                                                                                      JACKSON, MISSISSIPPI 39236


                                                                                                      PHONE:   601.351.2400
                                                                                                      FAX:     601.351.2424
                                                                                                      www.bakerdonelson.com


        CLINT PENTECOST, OF COUNSEL
        Direct Dial: 601.351.2452
        E-Mail Address: cpentecost@bakerdonelson.com


                                                          October 7, 2021

        Via electronic mail

        Marcia Robinson Lowry, Esq.
        Anastasia Benedetto, Esq.
        Jonathan Borle, Esq.
        A Better Childhood, Inc.
        355 Lexington Avenue
        16th Floor
        New York, NY 10011
        mlowry@abetterchildhood.org
        abenedetto@abetterchildhood.org
        jborle@abetterchildhood.org


                  Re:      Olivia Y., et al. v. Tate Reeves, et al.
                           In the United States District Court for the Southern District, Jackson Division
                           Civil Action No. 3:04cv251

        Dear Marcia:

        Defendants have reviewed your invoice for the period January 1, 2021 to June 30, 2021 (Invoice
        #51). Defendants have raised various concerns in the past related to the Plaintiffs’ invoices and
        requests for fees. In formulating those objections, Defendants have relied heavily on the Court’s
        findings in its Memorandum Opinion and Order of July 21, 2017 [Dkt #724] and the Court’s
        Order of May 6, 2016 [Dkt #691].

        Defendants maintain those same concerns raised previously as to Invoice #51 including entries
        which appear to fall into the category of “fees on fees” and entries which are a bit vague.

        In addition, Defendants object to the increased hourly rates utilized in Invoice #51. Instead, the
        hourly rates utilized for Plaintiffs’ invoices should remain consistent with those set forth in the
        Court’s July 2017 Memorandum Opinion and Order.

        However, for the purposes of settlement negotiations only, Defendants agree to payment in the
        amount of $79,721.37 as a complete satisfaction of the fees and expenses set forth in Invoice
        4814-7952-1021v1


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 Case 3:04-cv-00251-HSO-ASH           Document 924-1        Filed 12/01/21     Page 28 of 53

Marcia Robinson Lowry, Esq.
Anastasia Benedetto, Esq.
Jonathan Borle, Esq.
October 7, 2021
Page 2

#51. In doing so, Defendants do not waive their rights to contest future invoices for these or
other reasons. Also, as always, the payment of any agreed upon settlement shall be subject to
obtaining a specific deficit appropriation from the legislature to cover the agreed upon amount.

                                                   Sincerely,

                                                   BAKER, DONELSON, BEARMAN,
                                                   CALDWELL & BERKOWITZ, PC



                                                   Clint Pentecost

CP:llt




4814-7952-1021v1
     Case 3:04-cv-00251-HSO-ASH                      Document 924-1           Filed 12/01/21      Page 29 of 53
                                                              Friday, November 5, 2021 at 14:08:23 Eastern Daylight Time


Subject:    RE: Olivia Y - A-orneys' Fees for Jan 1. 2021-June 30, 2021
Date:       Tuesday, November 2, 2021 at 9:04:28 AM Eastern Daylight Time
From:       Pentecost, Clint
To:         Anastasia Benede-o
CC:         Marcia Lowry, Jonathan Borle
AHachments: image001.jpg, image002.png, image003.png, image004.png, image005.png, Le-er to Marcia
            Lowry and Anastasia Benede-o in response to 10.15.21 Le-er re A-orneys Fees (Inv 51).pdf

Anastasia,
Please see the a-ached. Thanks.

Clint Pentecost
Of Counsel
Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
Direct: 601.351.2452
E-mail: cpentecost@bakerdonelson.com


         From: Anastasia Benede-o <abenede-o@abe-erchildhood.org>
         Sent: Friday, October 15, 2021 3:19 PM
         To: Pentecost, Clint <CPentecost@bakerdonelson.com>
         Cc: Marcia Lowry <mlowry@abe-erchildhood.org>; Jonathan Borle <jborle@abe-erchildhood.org>
         Subject: Re: Olivia Y - A-orneys' Fees for Jan 1. 2021-June 30, 2021

         Clint,

         Please see the attached.

         Have a nice weekend,
         Anastasia

         From: "Pentecost, Clint" <CPentecost@bakerdonelson.com>
         Date: Thursday, October 7, 2021 at 12:02 PM
         To: Anastasia Benede-o <abenede-o@abe-erchildhood.org>
         Cc: Marcia Lowry <mlowry@abe-erchildhood.org>, Jonathan Borle
         <jborle@abe-erchildhood.org>
         Subject: RE: Olivia Y - A-orneys' Fees for Jan 1. 2021-June 30, 2021

         Please see the a-ached. Thanks.

         Clint Pentecost
         Of Counsel
         Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
         Direct: 601.351.2452
         E-mail: cpentecost@bakerdonelson.com


                  From: Anastasia Benede-o <abenede-o@abe-erchildhood.org>
                  Sent: Wednesday, September 22, 2021 12:50 PM
                  To: Pentecost, Clint <CPentecost@bakerdonelson.com>
                  Cc: Marcia Lowry <mlowry@abe-erchildhood.org>; Jonathan Borle
                  <jborle@abe-erchildhood.org>
                  Subject: Olivia Y - A-orneys' Fees for Jan 1. 2021-June 30, 2021

                                                                                                                  Page 1 of 2
Case 3:04-cv-00251-HSO-ASH                   Document 924-1               Filed 12/01/21        Page 30 of 53



          Clint,

          Please see attached fee application for the period of January 1, 2021 – June 30, 2021.

          Best,
          Anastasia Benedetto
          Staff Attorney
          A Better Childhood
          abenedetto@abetterchildhood.org
          646-477-1781




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                                                                                                      PHONE:   601.351.2400
                                                                                                      FAX:     601.351.2424
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        CLINT PENTECOST, OF COUNSEL
        Direct Dial: 601.351.2452
        E-Mail Address: cpentecost@bakerdonelson.com


                                                         November 2, 2021

        Via electronic mail

        Marcia Robinson Lowry, Esq.
        Anastasia Benedetto, Esq.
        Jonathan Borle, Esq.
        A Better Childhood, Inc.
        355 Lexington Avenue
        16th Floor
        New York, NY 10011
        mlowry@abetterchildhood.org
        abenedetto@abetterchildhood.org
        jborle@abetterchildhood.org


                  Re:      Olivia Y., et al. v. Tate Reeves, et al.
                           In the United States District Court for the Southern District, Jackson Division
                           Civil Action No. 3:04cv251

        Dear Marcia:

        We have reviewed your October 15 correspondence related to the invoice for the period January
        1, 2021 to June 30, 2021 (Invoice #51).

        As you know, the court set forth considerations for billing practices for this matter in its
        Memorandum Opinion and Order of July 21, 2017 [Dkt #724] and the Court’s Order of May 6,
        2016 [Dkt #691]. We appreciate the changes you have made to your invoices over the past two
        years to bring them more in line with the court’s directives. In response to your October 15
        letter, Defendants do not object to any specific entries contained in Invoice #51 for purposes of
        trying to reach an agreement on the payment of Invoice #51. Defendants do, however, object to
        the increased hourly rates utilized in Invoice #51. Instead, the hourly rates utilized for Plaintiffs’
        invoices should remain consistent with those set forth in the Court’s July 2017 Memorandum
        Opinion and Order.

        For the purposes of settlement negotiations only, Defendants still agree to payment in the amount
        of $79,721.37 as a complete satisfaction of the fees and expenses set forth in Invoice #51. This



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Marcia Robinson Lowry, Esq.
Anastasia Benedetto, Esq.
Jonathan Borle, Esq.
November 2, 2021
Page 2

amount reflects the total amount which the Invoice would be had the court-ordered rates been
applied to the time entries in Invoice #51 instead of the proposed higher rates.

In offering to pay the amount above, Defendants do not waive their rights to contest future fee
requests for the reasons previously stated or other reasons that may arise. Also, as always, the
payment of any agreed upon settlement shall be subject to obtaining a specific deficit
appropriation from the legislature to cover the agreed upon amount.

                                                   Sincerely,

                                                   BAKER, DONELSON, BEARMAN,
                                                   CALDWELL & BERKOWITZ, PC



                                                   Clint Pentecost

CP:llt
Case 3:04-cv-00251-HSO-ASH                        Document 924-1       Filed 12/01/21    Page 33 of 53




   Via electronic mail

   William C. Pentecost, Esq.
   Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
   One Eastover Center
   100 Vision Drive, Suite 400
   Jackson, Mississippi 39211

   September 22, 2021

   Re: Olivia Y. v. Bryant
       Attorneys’ Fees and Expenses for A Better Childhood and Bradley Arant for January 1,
       2021 through June 30, 2021

                                    PRIVILEGED AND CONFIDENTIAL
   Dear Counsel,
   Plaintiffs’ counsel in the above named action seek a total of $99,466.92 for attorneys’ fees and
   expenses for the period of January 1, 2021 through June 30, 2021 in the following amounts:


                      ABC Time                                     $     93,775.35
                      ABC Expenses                                 $      4,719.57
                      Bradley Time                                 $       972.00
                      Total:                                       $     99,466.92


            We have submitted this invoice with the following increased rates that we will be asking
   the Court to set: $475 for Marcia Lowry; $450 for Wayne Drinkwater; $325 for Michael Bentley;
   $250 for Anastasia Benedetto and Jonathan Borle; and $120 for ABC and Bradley Arant
   paralegals.
            As discussed during our conferral on September 1, 2021, we would appreciate if
   Defendants would stipulate to the substance of the invoice for this period, in order to limit the
   issue before the court to the rate increase. We have exercised customary billing judgment
   throughout the application. In doing so, A Better Childhood is not seeking fees for the time spent
   by Jonathan Borle familiarizing himself with the case.
            As always, we are available should you wish to discuss further. We would appreciate a
   response by October 1st, 2021.


            Sincerely,
            /s/ Marcia Robinson Lowry
            Executive Director
            A Better Childhood, Inc.

            355 Lexington Avenue New York, NY 10017,
            Floor 16
            (646) 795-4456 | abetterchildhood.org
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                                                                                                INVOICE
                                                                                                      Invoice # 51
                                                                                                 Date: 09/22/2021
                                                                                               Due On: 10/22/2021
A Better Childhood, Inc.
355 Lexington Avenue, Floor 16
New York, NY 10017


Mississippi

Mississippi

Olivia Y - child welfare reform case in Mississippi

 Services

   Type         Date                Description               Quantity Attorney     Rate     Discount    Total

 Service      01/04/2021   (19) Send/Receive text                   0.25   AB      $250.00          -     $62.50
                           message or email: Emails to
                           monitors re sources, co-
                           counsel.

 Service      01/12/2021   (1) Legal Documents- draft/edit/         0.50   AB      $250.00          -    $125.00
                           revise: Finalized and sent
                           notice of noncompliance.

 Service      01/25/2021   (5) Conference call: w/ K.Ryan,          0.33   ML      $475.00          -    $158.33
                           A.Benedetto about problems in
                           MS.

 Service      01/25/2021   (18) Review memos, letters               0.83   AB      $250.00          -    $207.50
                           reports: Reviewed memo to
                           K.Ryan, strategy.

 Service      01/25/2021   (14) Meeting: Call w/ K.Ryan,            0.33   AB      $250.00          -     $82.50
                           M.Lowry re case status.

 Service      01/25/2021   (14) Meeting: Call w/ source re          0.17   AB      $250.00          -     $42.50
                           Hancock & Harrison counties.

 Service      01/28/2021   (18) Review memos, letters               1.50   AB      $250.00          -    $375.00
                           reports: 2021 CQI plan review.

 Service      01/29/2021   (20) Telephone call: w/                  0.17   ML      $475.00          -     $79.17
                           A.Benedetto re CQI.

 Service      01/29/2021   (18) Review memos, letters               1.00   AB      $250.00          -    $250.00
                           reports: Reviewed CQI plan.




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                                                                                      Invoice # 51 - 09/22/2021




Service   01/29/2021   (14) Meeting: Email to monitors           0.50   AB      $250.00          -   $125.00
                       re CQI plan.

Service   01/29/2021   (14) Meeting: Call w/ M.Lowry             0.17   AB      $200.00          -     $34.00
                       re CQI.

Service   02/01/2021   (1) Legal Documents- draft/edit/          1.00   AB      $250.00          -   $250.00
                       revise: MS fees motion.

Service   02/01/2021   (18) Review memos, letters                1.00   AB      $250.00          -   $250.00
                       reports: Review of Q3 data in
                       preparation for quarterly
                       meeting.

Service   02/02/2021   (1) Legal Documents- draft/edit/          2.00   AB      $250.00          -   $500.00
                       revise: Drafted MS fees motion.

Service   02/03/2021   (1) Legal Documents- draft/edit/          0.17   ML      $475.00          -     $79.17
                       revise: Review fee motion.

Service   02/03/2021   (14) Meeting: Meeting w/                  0.17   AB      $250.00          -     $42.50
                       M.Lowry re upcoming Q3
                       meeting.

Service   02/03/2021   (14) Meeting: Meeting w/                  0.17   ML      $475.00          -     $80.75
                       A.Benedetto re Q3 meeting.

Service   02/04/2021   (15) Meeting-Preparation for:             2.50   AB      $250.00          -   $625.00
                       Reviewed news articles, 2022
                       Budget Recommendation, Q3
                       data and generated priority
                       questions for Q3 meeting.

Service   02/05/2021   (13) Legal research: Research             0.50   AB      $250.00          -   $125.00
                       re information request for
                       hospitalized child.

Service   02/05/2021   (12) Memo- Draft/Edit/Revise:             0.25   AB      $250.00          -     $62.50
                       Finalized and circulated priority
                       discussion areas for Q3
                       meeting.

Service   02/12/2021   (18) Review memos, letters                1.00   AB      $250.00          -   $250.00
                       reports: Reviewed Q4 report.

Service   02/15/2021   (16) Other: Compliance data               1.00   SC      $120.00          -   $120.00
                       input.

Service   02/19/2021   (5) Conference call: w/ Defs.,            1.00   ML      $475.00          -   $475.00
                       A.Benedetto, re status, non-
                       compliance, plans.

Service   02/19/2021   (15) Meeting-Preparation for:             2.50   AB      $250.00          -   $625.00
                       Prep for Q3 meeting.

Service   02/19/2021   (14) Meeting: Quarterly meeting           1.00   AB      $250.00          -   $250.00
                       with Defendants, Monitors.




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Case 3:04-cv-00251-HSO-ASH                  Document 924-1              Filed 12/01/21    Page 36 of 53
                                                                                     Invoice # 51 - 09/22/2021




Service   02/19/2021   (18) Review memos, letters               0.50   AB      $250.00          -   $125.00
                       reports: Q4 data review.

Service   02/23/2021   (1) Legal Documents- draft/edit/         1.50   AB      $250.00          -   $375.00
                       revise: Drafted fee motion reply
                       for filing.

Service   02/24/2021   (1) Legal Documents- draft/edit/         0.50   AB      $250.00          -   $125.00
                       revise: Finalized fee reply.

Service   03/09/2021   (18) Review memos, letters               1.83   AB      $250.00          -   $457.50
                       reports: Q4 data review and
                       analysis.

Service   03/10/2021   (18) Review memos, letters               3.83   AB      $250.00          -   $957.50
                       reports: (cont) Q4 data review
                       and analysis.

Service   03/10/2021   (18) Review memos, letters               2.00   AB      $250.00          -   $500.00
                       reports: Q4 data tracking and
                       2020 annual comparison.

Service   03/11/2021   (15) Meeting-Preparation for:            0.50   ML      $475.00          -   $237.50
                       Review materials for mtg w/
                       Commissioner.

Service   03/11/2021   (5) Conference call: w/                  2.17   ML      $475.00          - $1,029.17
                       Commissioner, A.Benedetto re
                       plans for agency.

Service   03/11/2021   (15) Meeting-Preparation for:            1.50   AB      $250.00          -   $375.00
                       Data analysis and Q4 meeting
                       preparations.

Service   03/11/2021   (14) Meeting: Q4 meeting,                2.17   AB      $250.00          -   $542.50
                       M.Lowry follow-up.

Service   03/11/2021   (1) Legal Documents- draft/edit/         1.50   AB      $250.00          -   $375.00
                       revise: Prepared notice of non-
                       compliance for Q4.

Service   03/12/2021   (18) Review memos, letters               3.17   AB      $250.00          -   $792.50
                       reports: Completed annual data
                       review from Defs' data.

Service   03/15/2021   (18) Review memos, letters               1.50   AB      $250.00          -   $375.00
                       reports: Reviewed 2020 data
                       and memo for meeting.

Service   03/15/2021   (1) Legal Documents- draft/edit/         0.50   AB      $250.00          -   $125.00
                       revise: Finalized and circulated
                       2020 Q4 notice of
                       noncompliance.

Service   03/16/2021   (19) Send/Receive text                   0.50   ML      $475.00          -   $237.50
                       message or email: Respond to
                       invite for meeting, telephone
                       call w/ A.Benedetto to discuss.




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                                                                                    Invoice # 51 - 09/22/2021




Service   03/16/2021   (18) Review memos, letters              2.30   AB      $250.00          -   $575.00
                       reports: Reviewed 2020 data
                       and memo for meeting.

Service   03/16/2021   (14) Meeting: Call w/ M.Lowry           0.17   AB      $250.00          -     $42.50
                       re meeting with Commissioner
                       Sanders, strategy.

Service   03/16/2021   (15) Meeting-Preparation for:           1.50   AB      $250.00          -   $375.00
                       Outline comprehensive data
                       memo covering 2018-2020 for
                       meeting w/ A.Sanders.

Service   03/17/2021   (18) Review memos, letters              1.50   AB      $250.00          -   $375.00
                       reports: Reviewed 2020 data
                       and memo for meeting.

Service   03/18/2021   (18) Review memos, letters              3.33   AB      $250.00          -   $832.50
                       reports: Reviewed and
                       analyzed data for master data
                       summary.

Service   03/18/2021   (19) Send/Receive text                  0.17   AB      $250.00          -     $42.50
                       message or email: Email to
                       monitors re annual report.

Service   03/22/2021   (18) Review memos, letters              4.00   AB      $250.00          - $1,000.00
                       reports: Reviewed and
                       analyzed data for master data
                       summary (cont).

Service   03/22/2021   (19) Send/Receive text                  0.17   AB      $250.00          -     $42.50
                       message or email: Emails to
                       M.Lowry re meeting w/
                       A.Sanders and data summary.

Service   03/23/2021   (18) Review memos, letters              3.50   AB      $250.00          -   $875.00
                       reports: Reviewed and
                       analyzed data for master data
                       summary.

Service   03/23/2021   (12) Memo- Draft/Edit/Revise:           2.58   AB      $250.00          -   $645.00
                       Drafted and revised master
                       data summary memo in
                       preparation for meeting w/
                       A.Sanders.

Service   03/25/2021   (12) Memo- Draft/Edit/Revise:           1.50   AB      $250.00          -   $375.00
                       Continued drafting and revising
                       master data summary memo in
                       preparation for meeting w/
                       A.Sanders.

Service   03/25/2021   (18) Review memos, letters              2.50   AB      $250.00          -   $625.00
                       reports: Reviewed and
                       analyzed data for master data
                       summary.




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Service   03/26/2021   (4) Factual Research:                       0.50   AB      $250.00          -    $125.00
                       Reviewed news stories related
                       to case.

Service   03/26/2021   (18) Review memos, letters                  4.33   AB      $250.00          - $1,082.50
                       reports: Reviewed and
                       analyzed data for master data
                       summary.

Service   03/28/2021   (18) Review memos, letters                  1.00   ML      $475.00          -    $475.00
                       reports: Review memo from
                       A.Benedetto re compliance,
                       prep for meeting w/defs.

Service   03/29/2021   (14) Meeting: Call w/ M.Lowry               0.25   AB      $250.00          -     $62.50
                       re preparations for meeting and
                       meeting strategy.

Service   03/29/2021   (12) Memo- Draft/Edit/Revise:               2.58   AB      $250.00          -    $645.00
                       Added additional data from
                       2019 annual report to data
                       summary.

Service   03/29/2021   (14) Meeting: Call w/                       0.25   ML      $475.00          -    $118.75
                       A.Benedetto re prep for
                       meeting.

Service   03/30/2021   (21) Travel: NY - Atlanta.                  5.25   ML      $475.00    50.0%     $1,246.87

Service   03/30/2021   (14) Meeting: w/ Commissioner,              3.25   ML      $475.00          - $1,543.75
                       attorneys, to discuss status of
                       case, alternative approach.

Service   03/30/2021   (19) Send/Receive text                      0.50   ML      $475.00          -    $237.50
                       message or email: To Monitors
                       re alternative approach to
                       implementation.

Service   03/30/2021   (14) Meeting: Meeting w/                    3.25   AB      $250.00          -    $812.50
                       Commissioner Sanders.

Service   03/30/2021   (15) Meeting-Preparation for:               1.00   AB      $250.00          -    $250.00
                       Prep for meeting with
                       Commissioner Sanders.

Service   03/30/2021   (21) Travel: Atlanta - NY.                  7.00   ML      $475.00    50.0%     $1,662.50

Service   03/31/2021   (17) Review legal papers, Court             1.58   AB      $250.00          -    $395.00
                       orders and opinions: Reviewed
                       2nd MSA for provisions with
                       unmet deadlines.

Service   03/31/2021   (19) Send/Receive text                      0.50   AB      $250.00          -    $125.00
                       message or email: Texts and
                       call w/ anonymous source.

Service   04/05/2021   (11) Letter- Draft/Edit/Revise:             0.50   ML      $475.00          -    $237.50
                       To Commissioner Sanders re




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                       settlement.

Service   04/05/2021   (5) Conference call: w/                   0.40   ML      $475.00          -   $190.00
                       W.Drinkwater, A.Benedetto,
                       J.Borle re settlement
                       negotiations, new judge.

Service   04/05/2021   (14) Meeting: Conference with             0.40   JB      $250.00          -   $100.00
                       co-counsel.

Service   04/05/2021   (14) Meeting: Meeting w/ co-              0.40   AB      $250.00          -   $100.00
                       counsel re case strategy.

Service   04/07/2021   (19) Send/Receive text                    0.75   ML      $475.00          -   $356.25
                       message or email: Review
                       email from L.Jones, email to
                       A.Benedetto re same.

Service   04/07/2021   (13) Legal research: Research             0.50   JB      $250.00          -   $125.00
                       regarding J. Ozerden.

Service   04/07/2021   (10) Document review:                     0.42   AB      $250.00          -   $105.00
                       Reviewed email from L.Jones,
                       proposed order.

Service   04/07/2021   (14) Meeting: Call w/ M.Lowry             0.17   AB      $250.00          -     $42.50
                       re email from L.Jones.

Service   04/07/2021   (14) Meeting: Call w/ J.Borle re          0.25   AB      $250.00          -     $62.50
                       case status, research.

Service   04/07/2021   (14) Meeting: Call w/                     0.17   ML      $475.00          -     $80.75
                       A.Benedetto re email from
                       L.Jones.

Service   04/07/2021   (14) Meeting: Call w/                     0.25   JB      $250.00          -     $62.50
                       A.Benedetto re research.

Service   04/08/2021   (19) Send/Receive text                    0.37   ML      $475.00          -   $175.75
                       message or email: Email to/
                       from L.Jones.

Service   04/08/2021   (14) Meeting: Conference with             0.30   JB      $250.00          -     $75.00
                       M. Lowry and A. Benedetto re
                       Defendant's proposed joint
                       agreement.

Service   04/08/2021   (14) Meeting: Meeting w/                  0.30   AB      $250.00          -     $75.00
                       M.Lowry and J.Borle re
                       negotiation strategy.

Service   04/08/2021   (19) Send/Receive text                    0.33   AB      $250.00          -     $82.50
                       message or email: Emails with
                       monitors, M.Lowry re
                       scheduling meeting.

Service   04/08/2021   (14) Meeting: Conference call             0.30   ML      $475.00          -   $142.50
                       w/ A.Benedetto, J.Borle re




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                       negotiation strategy.

Service   04/12/2021   (16) Other: Reviewed MSA.                 1.50   JB      $250.00          -   $375.00

Service   04/13/2021   (19) Send/Receive text                    0.75   ML      $475.00          -   $356.25
                       message or email: t/f
                       A.Benedetto re MSA provision.

Service   04/13/2021   (5) Conference call: w/                   0.83   ML      $475.00          -   $394.25
                       E.Crummy, L.Taylor,
                       A.Benedetto, J.Borle re
                       settlement issues.

Service   04/13/2021   (5) Conference call: w/                   0.50   ML      $475.00          -   $237.50
                       A.Benedetto, J.Borle re meeting
                       w/ Monitors.

Service   04/13/2021   (19) Send/Receive text                    0.67   ML      $475.00          -   $316.67
                       message or email: To K.Ryan
                       re settlement discussion.

Service   04/13/2021   (14) Meeting: Communicate                 0.40   JB      $250.00          -   $100.00
                       with A. Benedetto re MSA
                       negotiations.

Service   04/13/2021   (14) Meeting: Communicate                 0.83   JB      $250.00          -   $207.50
                       with A. Benedetto M. Lowry and
                       Monitors re MSA negotiations.

Service   04/13/2021   (15) Meeting-Preparation for:             1.50   AB      $250.00          -   $375.00
                       Prep for meeting with Monitor:
                       reviewed 10.1 information, 2nd
                       MSA, data.

Service   04/13/2021   (14) Meeting: Meeting w/                  0.50   AB      $250.00          -   $125.00
                       M.Lowry, J.Borle re negotiation
                       meeting, meeting w/ monitor.

Service   04/13/2021   (14) Meeting: Meeting w/                  0.40   AB      $250.00          -   $100.00
                       J.Borle re case status.

Service   04/13/2021   (14) Meeting: Call w/ monitors            0.83   AB      $250.00          -   $207.50
                       re negotiation.

Service   04/13/2021   (14) Meeting: Meeting w/                  0.50   JB      $250.00          -   $125.00
                       M.Lowry, A.Benedetto re
                       negotiation meeting.

Service   04/14/2021   (5) Conference call: w/                   0.25   ML      $475.00          -   $118.75
                       A.Benedetto, J.Borle re
                       negotiation.

Service   04/14/2021   (13) Legal research: Research             4.50   JB      $250.00          - $1,125.00
                       Judge Ozerden's civil rights
                       record.

Service   04/14/2021   (14) Meeting: Call w/ M.Lowry,            0.25   AB      $250.00          -     $62.50
                       J.Borle re upcoming meeting




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                       with Defs.

Service   04/14/2021   (10) Document review: Review             0.75   AB      $250.00          -   $187.50
                       2nd MSA for upcoming
                       negotiation.

Service   04/14/2021   (14) Meeting: Call w/ M.Lowry,           0.25   JB      $250.00          -     $62.50
                       A.Benedetto re negotiation
                       meeting.

Service   04/15/2021   (5) Conference call: w/ Com.             0.58   ML      $475.00          -   $277.08
                       Sanders re negotiations on a
                       settlement agreement.

Service   04/15/2021   (19) Send/Receive text                   0.33   ML      $475.00          -   $158.33
                       message or email: t/f K.Ryan re
                       Miss. settlement agreement.

Service   04/15/2021   (19) Send/Receive text                   0.17   ML      $475.00          -     $79.17
                       message or email: To
                       A.Benedetto, J.Borle re meeting
                       in Miss.

Service   04/15/2021   (15) Meeting-Preparation for:            0.30   JB      $250.00          -     $75.00
                       Meeting with Commissioner
                       Sanders.

Service   04/15/2021   (14) Meeting: Meeting with               0.58   JB      $250.00          -   $145.00
                       Commissioner Sanders.

Service   04/15/2021   (14) Meeting: Internal team              0.20   JB      $250.00          -     $50.00
                       meeting re debrief of
                       conference with Commissioner
                       Sanders.

Service   04/15/2021   (14) Meeting: Meeting w/                 0.58   AB      $250.00          -   $145.00
                       Defendants re negotiation.

Service   04/15/2021   (14) Meeting: Internal team              0.20   AB      $250.00          -     $50.00
                       meeting re debrief of
                       conference with Commissioner
                       Sanders.

Service   04/15/2021   (14) Meeting: w/ A.Benedetto,            0.20   ML      $475.00          -     $95.00
                       J.Borle re meeting with
                       Commissioner.

Service   04/20/2021   (15) Meeting-Preparation for:            0.40   JB      $250.00          -   $100.00
                       Communicated with A.
                       Benedetto re issues ahead of
                       settlement conference.

Service   04/22/2021   (15) Meeting-Preparation for:            1.50   AB      $250.00          -   $375.00
                       Reviewed 2nd MSA in
                       preparation for negotiations.

Service   04/23/2021   (13) Legal research: Review              0.80   JB      $250.00          -   $200.00
                       case law re attorney fees in




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                       Mississippi.

Service   04/23/2021   (17) Review legal papers, Court              1.50   AB      $250.00          -   $375.00
                       orders and opinions: Fee order,
                       motion review and research re
                       rates.

Service   04/27/2021   (16) Other: Review state                     0.30   JB      $250.00          -     $75.00
                       appropriations legislation.

Service   04/28/2021   (14) Meeting: Communicate                    1.00   JB      $250.00          -   $250.00
                       with A. Benedetto re analysis of
                       quarterly report.

Service   04/28/2021   (16) Other: Analyze state                    1.50   JB      $250.00          -   $375.00
                       compliance reports.

Service   04/28/2021   (10) Document review:                        0.50   AB      $250.00          -   $125.00
                       Reviewed HB No. 1398 &
                       MDCPS appropriations for FY,
                       quarterly reports and workers
                       needed.

Service   04/28/2021   (14) Meeting: w/ J.Borle re                  1.00   AB      $250.00          -   $250.00
                       quarterly report.

Service   04/29/2021   (18) Review memos, letters                   3.33   AB      $250.00          -   $832.50
                       reports: Reviewed annual
                       reports from Monitor, § 10.1
                       provisions outline, created
                       outline in prep for negotiations
                       w/ Defs.

Service   05/03/2021   (18) Review memos, letters                   2.50   AB      $250.00          -   $625.00
                       reports: Data review and
                       analysis, prep for upcoming
                       meeting with Defs.

Service   05/05/2021   (15) Meeting-Preparation for:                2.50   AB      $250.00          -   $625.00
                       Analyzed data, reviewed 2nd
                       MSA, previous settlement
                       agreements in preparation for
                       meeting w/ Defs.

Service   05/06/2021   (1) Legal Documents- draft/edit/             0.75   ML      $475.00          -   $356.25
                       revise: Review draft proposal
                       from Defs., schedule meeting.

Service   05/07/2021   (20) Telephone call: w/ K.Ryan               0.25   ML      $475.00          -   $118.75
                       re monitoring, negotiations.

Service   05/07/2021   (1) Legal Documents- draft/edit/             1.50   ML      $475.00          -   $712.50
                       revise: Review state proposal
                       re negotiations of settlement.

Service   05/07/2021   (5) Conference call: w/                      0.25   ML      $475.00          -   $118.75
                       A.Benedetto, J.Borle re
                       comparing state proposal to




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                       MSA.

Service   05/07/2021   (14) Meeting: Internal                0.25   JB      $250.00          -     $62.50
                       conference with M. Lowry and
                       A. Benedetto.

Service   05/07/2021   (14) Meeting: Call w. M.Lowry,        0.25   AB      $250.00          -     $62.50
                       J.Borle re Defs' proposal.

Service   05/08/2021   (19) Send/Receive text                0.25   ML      $475.00          -    $118.75
                       message or email: t/f Monitor,
                       rev. state proposal.

Service   05/10/2021   (21) Travel: NY - Jackson.            9.25   ML      $475.00    50.0%     $2,196.87

Service   05/10/2021   (21) Travel: NY - Jackson.            8.50   JB      $250.00    50.0%     $1,062.50

Service   05/10/2021   (18) Review memos, letters            4.00   AB      $250.00          - $1,000.00
                       reports: Reviewed and
                       analyzed Defs' proposal, 2nd
                       MSA and historical compliance.

Service   05/10/2021   (15) Meeting-Preparation for:         4.00   AB      $250.00          - $1,000.00
                       Prepared comprehensive
                       outline of Defs' proposal for
                       meeting.

Service   05/11/2021   (14) Meeting: In MS w/ Defs.,         9.00   ML      $475.00          - $4,275.00
                       A.Benedetto, J.Borle.

Service   05/11/2021   (14) Meeting: Attend settlement       9.00   JB      $250.00          - $2,250.00
                       conference.

Service   05/11/2021   (14) Meeting: Meeting with            9.00   AB      $250.00          - $2,250.00
                       MDCPS re 2nd MSA
                       negotiation.

Service   05/11/2021   (15) Meeting-Preparation for:         1.00   AB      $250.00          -    $250.00
                       Finalized prep for meeting.

Service   05/12/2021   (21) Travel: MS - NY.                 9.00   JB      $250.00    50.0%     $1,125.00

Service   05/12/2021   (14) Meeting: Attend settlement       2.50   JB      $250.00          -    $625.00
                       conference.

Service   05/12/2021   (14) Meeting: Meeting with M.         1.00   JB      $250.00          -    $250.00
                       Lowry re strategy re settlement
                       conference.

Service   05/12/2021   (20) Telephone call: Emails and       0.75   ML      $475.00          -    $356.25
                       phone call w/K.Ryan.

Service   05/12/2021   (11) Letter- Draft/Edit/Revise:       0.55   ML      $475.00          -    $263.49
                       Draft letter to court.

Service   05/12/2021   (14) Meeting: w/ Defendants.          2.50   ML      $475.00          - $1,187.50

Service   05/12/2021   (21) Travel: MS - NY.                10.25   ML      $475.00    50.0%     $2,434.37




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Service   05/12/2021   (14) Meeting: Meeting with           2.50   AB      $250.00          -   $625.00
                       MDCPS re 2nd MSA
                       negotiation.

Service   05/12/2021   (14) Meeting: Call w/ M.Lowry,       1.00   AB      $250.00          -   $250.00
                       J.Borle re MS meetings.

Service   05/12/2021   (15) Meeting-Preparation for:        1.00   AB      $250.00          -   $250.00
                       Prep for meeting.

Service   05/12/2021   (12) Memo- Draft/Edit/Revise:        1.00   AB      $250.00          -   $250.00
                       Review notes from meetings
                       with Defs., memo re same.

Service   05/12/2021   (14) Meeting: Call w/                1.00   ML      $475.00          -   $475.00
                       A.Benedetto, J.Borle re MS
                       meetings.

Service   05/13/2021   (19) Send/Receive text               0.17   ML      $475.00          -     $79.17
                       message or email: Email to
                       K.Ryan re mtg.

Service   05/13/2021   (20) Telephone call: Call w/         0.50   ML      $475.00          -   $237.50
                       K.Ryan, email C.Pentecost re
                       meeting.

Service   05/13/2021   (22) Administration: Review          4.00   JB        $0.00          -      $0.00
                       various memoranda, filings, and
                       organizational tools for case.

Service   05/14/2021   (20) Telephone call: w/              0.33   ML      $475.00          -   $158.33
                       A.Benedetto re status of Miss.
                       case, upcoming tasks.

Service   05/14/2021   (14) Meeting: Discussion w/          0.50   AB      $250.00          -   $125.00
                       J.Borle re case status.

Service   05/14/2021   (15) Meeting-Preparation for:        1.00   AB      $250.00          -   $250.00
                       Review provisions discussed in
                       May 11/12 meeting w/ Defs',
                       analysis of counter-proposals.

Service   05/14/2021   (22) Administration: Review          2.50   JB        $0.00          -      $0.00
                       various memoranda, filings, and
                       organizational tools.

Service   05/14/2021   (14) Meeting: Communicate            0.50   JB      $250.00          -   $125.00
                       with A. Benedetto re next steps.

Service   05/14/2021   (14) Meeting: Meeting w/             0.33   AB      $200.00          -     $66.00
                       M.Lowry re upcoming tasks.

Service   05/17/2021   (22) Administration: Review          4.50   JB        $0.00          -      $0.00
                       prior case materials.

Service   05/18/2021   (14) Meeting: Internal ABC           0.33   JB      $250.00          -     $82.50
                       meeting preparing for hearing.




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Service   05/18/2021   (22) Administration: Review            4.10   JB        $0.00          -      $0.00
                       2019 Monitor's report.

Service   05/18/2021   (14) Meeting: MS call w.               0.33   AB      $250.00          -     $82.50
                       M.Lowry, J.Borle re case
                       status, next steps.

Service   05/18/2021   (6) Court - preparation for:           2.00   AB      $250.00          -   $500.00
                       Prepared outline for status
                       conference.

Service   05/18/2021   (14) Meeting: w/ A.Benedetto,          0.33   ML      $475.00          -   $156.75
                       J.Borle re case status.

Service   05/19/2021   (15) Meeting-Preparation for:          2.50   AB      $250.00          -   $625.00
                       Reviewed 2019 monitor's report
                       in preparation for meeting w/
                       Monitor, prepared outline re
                       same.

Service   05/19/2021   (7) Court appearance:                  0.50   AB      $250.00          -   $125.00
                       Conference before Judge
                       Ozerden.

Service   05/19/2021   (6) Court - preparation for:           1.50   ML      $475.00          -   $712.50
                       Review timeline, previous court
                       papers.

Service   05/19/2021   (7) Court appearance: Status           0.50   ML      $475.00          -   $237.50
                       conference before Judge
                       Ozerden.

Service   05/19/2021   (7) Court appearance:                  0.50   JB      $250.00          -   $125.00
                       Scheduling/status conference.

Service   05/19/2021   (15) Meeting-Preparation for:          0.30   JB      $250.00          -     $75.00
                       Prepare for scheduling/status
                       conference.

Service   05/19/2021   (14) Meeting: Internal team            0.20   JB      $250.00          -     $50.00
                       meeting re debrief of
                       scheduling/status conference.

Service   05/19/2021   (14) Meeting: M.Lowry, J.Borle         0.20   AB      $250.00          -     $50.00
                       re debrief status conference.

Service   05/19/2021   (14) Meeting: w/ A.Benedetto,          0.20   ML      $475.00          -     $95.00
                       J.Borle re status conference.

Service   05/20/2021   (19) Send/Receive text                 0.50   ML      $475.00          -   $237.50
                       message or email: To
                       W.Drinkwater, M.Bentley re
                       conference with Judge.

Service   05/21/2021   (19) Send/Receive text                 0.33   ML      $475.00          -   $158.33
                       message or email: From
                       K.Ryan re monitoring.




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Service   05/24/2021   (16) Other: Review Defendant's         5.20   JB      $250.00          - $1,300.00
                       quarterly compliance report.

Service   05/25/2021   (16) Other: Review Defendant's         5.50   JB      $250.00          - $1,375.00
                       quarterly compliance reports.

Service   05/26/2021   (16) Other: Order certificate of       0.30   JB      $250.00          -     $75.00
                       good standing from California
                       Bar to submit in pro hac vice
                       application.

Service   05/26/2021   (16) Other: Revise spreadsheet         2.40   JB      $250.00          -   $600.00
                       containing Defedants' quarterly
                       compliance report.

Service   05/28/2021   (14) Meeting: Meeting with M.          0.10   JB      $250.00          -     $25.00
                       Lowry re case status.

Service   05/28/2021   (14) Meeting: w/ J.Borle re            0.10   ML      $475.00          -     $47.50
                       status.

Service   06/02/2021   (16) Other: Review (cont.)             2.40   JB      $250.00          -   $600.00
                       Defendant's quarterly
                       compliance report.

Service   06/03/2021   (16) Other: Review Monitor's           3.20   JB      $250.00          -   $800.00
                       report.

Service   06/04/2021   (16) Other: Review (cont.)             0.70   JB      $250.00          -   $175.00
                       Defendant's quarterly report.

Service   06/04/2021   (17) Review legal papers, Court        1.00   ML      $475.00          -   $475.00
                       orders and opinions: Review
                       Monitors' draft report.

Service   06/06/2021   (1) Legal Documents- draft/edit/       2.00   ML      $475.00          -   $950.00
                       revise: Review, comment on
                       Miss. monitors' report.

Service   06/07/2021   (1) Legal Documents- draft/edit/       6.00   ML      $475.00          - $2,850.00
                       revise: Review monitors' report,
                       edit with comments, do related
                       research and review of MSA in
                       prep for negotiation.

Service   06/07/2021   (1) Legal Documents- draft/edit/       5.80   JB      $250.00          - $1,450.00
                       revise: Review Monitor's report.

Service   06/08/2021   (14) Meeting: Meet with M.             0.33   JB      $250.00          -     $82.50
                       Lowry re Monitor's report.

Service   06/08/2021   (1) Legal Documents- draft/edit/       1.50   JB      $250.00          -   $375.00
                       revise: Review M. Lowry's edits
                       of monitor's report.

Service   06/08/2021   (1) Legal Documents- draft/edit/       0.30   JB      $250.00          -     $75.00
                       revise: Review pro hac vice
                       application.




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Service   06/08/2021   (20) Telephone call: w/ J.Borle       0.33   ML      $475.00          -   $158.33
                       re comments on Monitors'
                       report.

Service   06/11/2021   (20) Telephone call: w/               0.30   ML      $475.00          -   $142.50
                       M.Bentley re settlement
                       agreement.

Service   06/11/2021   (18) Review memos, letters            0.50   ML      $475.00          -   $237.50
                       reports: Review Defs'
                       submission re potential
                       settlement.

Service   06/11/2021   (14) Meeting: Meet with M.            0.33   JB      $250.00          -     $82.50
                       Lowry re upcoming meeting w.
                       Defendants.

Service   06/11/2021   (14) Meeting: w/ K.Ryan re            1.50   ML      $475.00          -   $712.50
                       Monitors report, negotiations.

Service   06/11/2021   (14) Meeting: w/ J.Borle re           0.33   ML      $475.00          -   $156.75
                       upcoming mtg w/ Defs.

Service   06/13/2021   (18) Review memos, letters            1.00   ML      $475.00          -   $475.00
                       reports: Review proposal from
                       Defendants re settlement.

Service   06/14/2021   (5) Conference call: w/ J.Borle,      1.00   ML      $475.00          -   $475.00
                       L.Taylor, E.Crummy re
                       monitors' report.

Service   06/14/2021   (14) Meeting: Meeting with            1.00   JB      $250.00          -   $250.00
                       Public Catalyst to discuss draft
                       monitor's report.

Service   06/15/2021   (21) Travel: NY - NJ.                 2.00   JB      $250.00    50.0%     $250.00

Service   06/15/2021   (14) Meeting: Mediation with          7.50   JB      $250.00          - $1,875.00
                       Public Catalyst and
                       representatives from MDCPS.

Service   06/15/2021   (21) Travel: NY - NJ.                 2.00   ML      $475.00    50.0%     $475.00

Service   06/15/2021   (14) Meeting: w/ Defendants,          7.50   ML      $475.00          - $3,562.50
                       monitor to address non-
                       compliance issues.

Service   06/16/2021   (14) Meeting: Meeting w/              8.50   JB      $250.00          - $2,125.00
                       Defendants to address non-
                       compliance, settlement
                       agreement.

Service   06/16/2021   (21) Travel: NJ - NY.                 2.00   JB      $250.00    50.0%     $250.00

Service   06/16/2021   (14) Meeting: w/ Defs, Monitor        8.50   ML      $475.00          - $4,037.50
                       to resolve non-compliance
                       issues.




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Service   06/16/2021   (21) Travel: NJ - NY.                   3.00   ML          $475.00    50.0%       $712.50

                                                                   Line Item Discount Subtotal       -$11,415.64

                                                                              Services Subtotal        $93,775.35



Expenses

 Type       Date                               Description                       Quantity     Rate        Total

Expense   03/30/2021   Travel: MRL - Round-trip flight (LGA - ATL, ATL - LGA)         1.00   $526.80     $526.80

Expense   03/30/2021   Travel: MRL - Taxi in ATL (airport - Baker Donelson            1.00    $50.00      $50.00
                       office)

Expense   03/30/2021   Travel: MRL - Taxi in ATL (Baker Donelson office -             1.00    $54.30      $54.30
                       airport)

Expense   03/30/2021   Travel: MRL - Car service in NY (airport - home)               1.00   $167.39     $167.39

Expense   03/30/2021   Travel: MRL - Car service in NY (home - airport)               1.00   $168.10     $168.10

Expense   05/10/2021   Travel: MRL - Round-trip flight (LGA-ATL-JAN-ATL-              1.00   $406.40     $406.40
                       LGA)

Expense   05/10/2021   Travel: JB - Round-trip flight (LGA-ATL-JAN-ATL-LGA)           1.00   $406.40     $406.40

Expense   05/10/2021   Hotel: MRL - Hotel (The Westin, Jackson)                       1.00   $392.22     $392.22

Expense   05/10/2021   Hotel: JB - Hotel (The Westin, Jackson)                        1.00   $392.22     $392.22

Expense   05/10/2021   Food: MRL & JB - Dinner (Estelle Wine Bar & Bistro @           1.00    $80.99      $80.99
                       The Westin, Jackson)

Expense   05/10/2021   Travel: MRL - Car service in NY (home - airport)               1.00   $170.82     $170.82

Expense   05/10/2021   Travel: JB - Uber in NY (home to airport)                      1.00    $40.48      $40.48

Expense   05/10/2021   Travel: MRL & JB - Lyft in MS (airport to hotel)               1.00    $19.17      $19.17

Expense   05/10/2021   Food: JB - Lunch                                               1.00    $16.85      $16.85

Expense   05/11/2021   Travel: MRL & JB - Taxi in MS (hotel - MDCPS office)           1.00    $52.44      $52.44

Expense   05/11/2021   Food: ML - Breakfast                                           1.00    $17.25      $17.25

Expense   05/11/2021   Food: MRL & JB - Dinner                                        1.00    $69.17      $69.17

Expense   05/12/2021   Travel: MRL - Car service in NY (airport - home)               1.00   $170.10     $170.10

Expense   05/12/2021   Food: JB - Lunch                                               1.00    $19.90      $19.90

Expense   05/12/2021   Food: ML - Lunch                                               1.00    $28.28      $28.28

Expense   05/12/2021   Travel: JB - Uber in NY (airport - home)                       1.00    $38.90      $38.90

Expense   06/15/2021   Hotel: MRL - Hotel (Best Western, Westfield Inn)               1.00   $310.22     $310.22




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 Expense    06/15/2021   Hotel: JB - Hotel (Best Western, Westfield Inn)                1.00   $310.22     $310.22

 Expense    06/15/2021   Travel: MRL & JB - Car service to NJ (Chappaqua -              1.00   $265.50     $265.50
                         Manhattan - NJ, Public Catalyst Office)

 Expense    06/15/2021   Travel: JB - Uber in NY (home - pick-up location, lower        1.00    $16.57      $16.57
                         Manhattan)

 Expense    06/15/2021   Food: MRL & JB - Dinner                                        1.00    $79.37      $79.37

 Expense    06/15/2021   Travel: MRL & JB - Uber in NJ (Public Catalyst Office -        1.00    $25.38      $25.38
                         hotel)

 Expense    06/16/2021   Food: ML - Lunch                                               1.00    $12.22      $12.22

 Expense    06/16/2021   Travel: MRL & JB - Uber in NJ (hotel - Public Catalyst         1.00    $22.87      $22.87
                         Office)

 Expense    06/16/2021   Travel: MRL & JB - Car service to NY (Public Catalyst          1.00   $371.05     $371.05
                         Office - Manhattan - Chappaqua)

 Expense    06/16/2021   Travel: JB - Uber in NY (drop off, lower Manhattan -           1.00    $17.99      $17.99
                         home)

                                                                                Expenses Subtotal         $4,719.57



            Time Keeper                     Quantity             Rate               Discount             Total

 Anastasia Benedetto                               125.2           $250.00                      -        $31,300.00

 Anastasia Benedetto                                   0.5         $200.00                      -          $100.00

 Jonathan Borle                                    95.65           $250.00             -$2,687.50        $21,225.00

 Jonathan Borle                                     15.1             $0.00                      -             $0.00

 Marcia Lowry                                     104.75           $475.00             -$8,728.14        $41,030.35

 Sarah Corning                                         1.0         $120.00                      -          $120.00

                                                                                         Subtotal        $98,494.92

                                                                                            Total        $98,494.92




Please make all amounts payable to: A Better Childhood, Inc.




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Bradley Pro Bono                                                                      September 21, 2021
                                                                                      Invoice No. 1511685




Matter No. 999000-301268
Re: ABetterChildhood

For professional services posted through July 31, 2021
                                        Current Invoice Summary

Current Professional Services                                                                    $972.00

Current Expenses                                                                                     $0.00

Current Invoice                                                                                  $972.00




                                         Thank you for your business.
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                                                                                                 Invoice Detail

Bradley Pro Bono                                                                                         Page 2
Re: ABetterChildhood                                                                         September 21, 2021
                                                                                            Invoice No. 1511685
Matter No. 999000-301268                                         For legal services posted through July 31, 2021

                                            Professional Services

Date        Description                                            Tkpr      Hours        Rate         Amount

1/11/21     TCs M. Bentley, J. Heidelberg re Judge Ozerden,        WWD         0.40     450.00           180.00
            future proceedings.
1/11/21     Conference with W.Drinkwater regarding case            MJB         0.20     325.00            65.00
            reassignment and strategy given new presiding
            judge
2/4/21      Electronically submit motion for attorney fees and     JGAL        0.50     120.00            60.00
            expenses, along with supporting memorandum to
            court for filing and service
2/24/21     Electronically submit reply to motion for attorney     JGAL        0.30     120.00            36.00
            fees to court for filing and service
4/5/21      TC M. Bentley re possible settlement discussions.      WWD         0.20     450.00            90.00
            conference call with Marcia.
4/5/21      TC M. Lowry, Anastasia re meeting with state           WWD         0.40     450.00           180.00
            officials, possible settlement discussions.
4/5/21      Analyze need to inform court regarding potential for MJB           0.20     325.00            65.00
            renegotiating MSA
5/12/21     Review email regarding status/scheduling               JGAL        0.30     120.00            36.00
            conference and update calendar accordingly
5/19/21     Attend status conference with Judge Ozerden and        MJB         0.50     325.00           162.50
            all counsel
6/11/21     Conference with M.Lowry to prepare for settlement      MJB         0.30     325.00            97.50
            conference and discuss remedies provision for
            possible settlement agreement

Total Professional Services                                                                            $972.00




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Bradley Pro Bono                                                                                     Page 3
Re: ABetterChildhood                                                                     September 21, 2021
                                                                                        Invoice No. 1511685
Matter No. 999000-301268                                     For legal services posted through July 31, 2021

                                           Timekeeper Summary

Timekeeper                    Initials   Title             Hours            Rate                   Amount

Michael J. Bentley            MJB        Partner            1.20        $325.00                    $390.00
Wayne Drinkwater, Jr.         WWD        Partner            1.00        $450.00                    $450.00
Jeannette Altobelli           JGAL       Paralegal          1.10        $120.00                    $132.00

Total Professional Services                                                                        $972.00




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I.    Introduction
This report provides quarterly updates to Mississippi Department of Child Protection
Services Leadership, Staff, and Stakeholders, the Olivia Y. Court Monitor, and Olivia Y.
Plaintiffs regarding Agency performance on quantitative metrics associated with
Sections 1.2, 1.2, 1.3 and 9.6 of the Second Modified Mississippi Settlement
Agreement and Reform Plan (2nd MSA). This report covers activity through March 31,
2021 and is data as of April 12, 2021.
Note: Data presented here for earlier quarters may differ from previously published
data due to late entered data, updated data, and/or improvements to the business
rules used to calculate an indicator.

II.   Population Overview

       A.     Entry, Exit, and In-care Populations
For the Q1 2021, there were 3705 children in custody on the first day of the period
and 3730 children in custody on the last day of the period, for an overall net increase
of 25 children in custody during the reporting period.
Table 11: Starting Population, Entries, Exits, and Ending population, by Quarter Starting
1/1/2018

                  In-care Q Start   Entries into Care    Exits from Care       In-care Q End
 2018 Q1                                                               
 2018 Q2                                                               
 2018 Q3                                                               
 2018 Q4                                                               
 2019 Q1                                                               
 2019 Q2                                                               
 2019 Q3                                                              
 2019 Q4                                                               
 2020 Q1                                                               
 2020 Q2                                                               
 2020 Q3                                                               
 2020 Q4                                                               
 2021 Q1                                                               




1The Q1 2018 and Q2 2018 numbers reported differ from prior quarterly reports due to

updated custody data for children in custody during the prior periods.
                                                  3



                                                                                            MDCPS 157898
